Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 1 of 168 Page ID
                                   #:4441



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     Berwyn, PA 19312
 3   mds@sstriallawyers.com
 4   Adam Gonnelli (pro hac vice)
     LAW OFFICE OF ADAM R. GONNELLI, L.L.C.
 5   7030 E. Genesee Street
     Fayetteville, NY 13066
 6   adam@arglawoffice.com
 7   Bonner Walsh (pro hac vice)
     WALSH PLLC
 8   1561 Long Haul Road
     Grangeville, ID 83530
 9   bonner@walshpllc.com
10   Attorneys for Plaintiffs and the Settlement Class
11   [List of Additional Counsel on Signature Page]
12                           UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
13
      In re: Hyundai and Kia Engine Litigation    8:17-cv-00838-JLS-JDE
14

15                                                Related Cases:
                                                  8:17-cv-01365-JLS-JDE
16                                                8:17-cv-02208-JLS-JDE
17                                                2:18-cv-05255-JLS-JDE
                                                  8:18-cv-00622-JLS-JDE
18                                                8:18-cv-02223-JLS-JDE
19
                                                  DECLARATION OF STEVE W.
20
                                                  BERMAN IN SUPPORT OF
21                                                PLAINTIFFS’ MOTION FOR FINAL
                                                  APPROVAL OF CLASS
22
                                                  SETTLEMENT
23
                                                  Date: November 13, 2020
24
                                                  Time: 10:30 a.m.
25                                                Hon. Josephine L. Staton
                                                  Courtroom: 10A
26

27

28


     010789-11/1359109 V1
Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 2 of 168 Page ID
                                   #:4442



 1            I, STEVE W. BERMAN, declare as follows:
 2            1.       I am an attorney admitted pro hac vice in this litigation, the managing
 3   partner of the law firm Hagens Berman Sobol Shapiro LLP (“Hagens Berman”), and
 4   counsel of record for Plaintiffs Danny Dickerson, Robert Fockler, Amy Franklin,
 5   Donald House, Dave Loomis, Joseph McCallister, Arron Miller, Ricky Montoya,
 6   Lynn North, Mark Rice, Reid Schmitt, James Smith, and Chris Stackhouse (the
 7   “Flaherty Settling Plaintiffs”) in Flaherty v. Hyundai Motor Company, et al., No. 18-
 8   cv-02223 (C.D. Cal.). I could and would competently testify to the matters stated in
 9   this Declaration based on my personal knowledge or discussions with counsel in my
10   firm.
11            2.       I submit this Declaration in support of Plaintiffs’ Motion for Final
12   Approval of Class Settlement in connection with the class action settlement
13   (“Settlement”) preliminarily approved by this Court on May 7, 2020. (8:17-cv-00838,
14   ECF No. 132, Order Conditionally Granting Plaintiffs’ Motion for Preliminary
15   Approval of Class Action Settlement.)
16            3.       I am a member of the bar with extensive experience in prosecuting
17   complex litigation, including consumer class actions. This Court appointed me to
18   serve as Class Counsel alongside Matthew Schelkopf of Sauder Schelkopf, Adam
19   Gonnelli of The Sultzer Law Group, and Bonner Walsh of Walsh PLLC in its May 7,
20   2020 Order preliminarily approving the Settlement. Id.
21            4.       For final approval, the Court required Class Counsel to “submit a
22   sufficient number of declarations from Class Members discussing their reactions to the
23   proposed settlement.” Id. at 23. To meet this requirement, Class Counsel surveyed a
24   random sample of Hyundai and Kia Class members that submitted claim forms. Class
25   Counsel emailed the survey to 2000 Hyundai Class members and 2000 Kia Class
26   members.
27

28                                                    1
     DECLARATION OF STEVE W. BERMAN IN SUPPORT OF PLAINTIFFS’
     MOTION FOR FINAL APPROVAL OF CLASS SETTLEMENT
     Case No.: 8:17-cv-00838
     010789-11/1359109 V1
Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 3 of 168 Page ID
                                   #:4443



 1            5.       The survey asked questions about the Class member’s Class Vehicle,
 2   Notice, installation of the Knock Sensor Detection System, satisfaction with the
 3   Settlement and its benefits, and whether the Class member supported the Settlement’s
 4   approval. The survey also permitted respondents to include comments.
 5            6.       Class members that completed the survey were asked if they would
 6   submit a declaration containing their opinions about the Settlement to the Court. If
 7   they answered yes, the Class member was re-directed to an electronic declaration with
 8   substantively the same questions as the survey. Once the Class member completed,
 9   signed, dated, and submitted the declaration online, they were automatically emailed a
10   copy for their records.
11            7.       Class Counsel received 546 declarations in total. Of these, 525 Class
12   members said they supported the Settlement and would like to see it approved, and
13   just 21 Class members said they did not support the Settlement. This amounts to
14   96.15% of declarants supporting the Settlement and its approval. Most declarants
15   found the relief fully satisfactory (395 Class members) while others, though they
16   supported the Settlement, wanted greater relief (130 Class members).
17            8.       Attached as Exhibit 1 is a true and correct copy of the 21 declarations
18   submitted by Class members that do not support the Settlement. Because some of
19   these declarations indicate the Class member may be confused or incorrect about the
20   Settlement benefits, Class Counsel is currently reaching out to them to answer
21   questions and obtain any additional feedback.
22            9.       Attached as Exhibit 2 is a true and correct copy of 100 declarations
23   submitted by Class members that support the Settlement and its approval. Because the
24   Court did not specify how many Class member declarations it would like to review,
25   Class Counsel selected this sample at random, but should the Court wish to review the
26   remaining declarations obtained, we will produce them.
27

28                                                   2
     DECLARATION OF STEVE W. BERMAN IN SUPPORT OF PLAINTIFFS’
     MOTION FOR FINAL APPROVAL OF CLASS SETTLEMENT
     Case No.: 8:17-cv-00838
     010789-11/1359109 V1
Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 4 of 168 Page ID
                                   #:4444



 1            10.      Based on my experience with similar consumer class actions, I continue
 2   to believe the Settlement is appropriate and in the best interests of current and former
 3   Hyundai and Kia vehicle owners and lessees, as they will receive substantial benefits
 4   and avoid the risks, uncertainty, and delay inherent in any litigation. I also believe the
 5   Settlement terms are fair, reasonable, and adequate. I base these conclusions on what I
 6   have learned regarding the strengths and weaknesses of the parties’ respective claims,
 7   defenses, and evidence in the course of this litigation, as well as the facts and analysis
 8   regarding the Settlement that are already in the record.
 9            11.      I also believe the resounding support of the Settlement by Class members
10   completing declarations shows that the Settlement provides fair, reasonable, and
11   adequate compensation to the Class.
12            I declare under penalty of perjury under the laws of the United States that the
13   foregoing is true and correct. Executed October 16, 2020, at Seattle, Washington.
14

15                                                           /s/ Steve W. Berman
                                                            STEVE W. BERMAN
16

17
     Additional Counsel of Record:
18
     Steve W. Berman (pro hac vice)
19   HAGENS BERMAN SOBOL SHAPIRO LLP
     1301 Second Avenue, Suite 2000
20
     Seattle, WA 98101
21   Telephone: (206) 623-7292
     Facsimile: (206) 623-0594
22   steve@hbsslaw.com
23   Attorneys for Plaintiffs and the Settlement Class
24

25

26

27

28                                                  3
     DECLARATION OF STEVE W. BERMAN IN SUPPORT OF PLAINTIFFS’
     MOTION FOR FINAL APPROVAL OF CLASS SETTLEMENT
     Case No.: 8:17-cv-00838
     010789-11/1359109 V1
Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 5 of 168 Page ID
                                   #:4445




           EXHIBIT 1
     Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 6 of 168 Page ID
Hyundai/Kia Declaration                 #:4446
Submission Date                  2020-10-07 02:17:01

First Name                       Tori

Last Name                        Algee

Make of Class Vehicle            Hyundai

Year of Class Vehicle            2012

Model of Hyundai Class           Sonata
Vehicle

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        No
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Unsatisfactory
generally:

7. The settlement will           No
appropriately compensate
me.

8. The most important part of    To be reimbursed for all the challenges this caused. Hyundai failed me when
the settlement to me is:         creating a subpar engine then refused to honor the warranty. Instead they tried
                                 to say it was my fault and I’d have to pay over $5000 to have it repaired. I lost
                                 the car as a result and my credit took a hit. The funds being offered are
                                 minuscule in relation to the abundant issues I’m still dealing with today.

This is important to me          I want them to pay for not honoring their pledge and leaving their customers out
because:                         to dry. That’s not fair to the consumer and they should have a financial
                                 consequence large enough so they never do it again.

10. Select which best applies    I do not support the settlement.
to you:

Today's Date                     10-07-2020

E-sig Signature




Email                            tori_draggs@yahoo.com

City                             Hillsboro
        Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 7 of 168 Page ID
State                         OR           #:4447
     Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 8 of 168 Page ID
Hyundai/Kia Declaration                 #:4448
Submission Date                  2020-10-07 06:30:35

First Name                       Michele

Last Name                        Caggiano

Make of Class Vehicle            Hyundai

Year of Class Vehicle            2014

Model of Hyundai Class           Sonata
Vehicle

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        Yes
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Unsatisfactory
generally:

7. The settlement will           No
appropriately compensate
me.

8. The most important part of    I purchased a new Hyundai in 2019 and I received an email to prove I purchased
the settlement to me is:         the car or told I have to purchase a car.
                                 I received two packets which would clearly show I have two vehicles one I had
                                 and one I currently own.

This is important to me          People should be compensated. I was in the middle of the road and the car died.
because:

10. Select which best applies    I do not support the settlement.
to you:

Today's Date                     10-07-2020

E-sig Signature




Email                            cmisha1014@aol.com

City                             Wantagh

State                            NY
     Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 9 of 168 Page ID
Hyundai/Kia Declaration                 #:4449
Submission Date                  2020-10-04 18:43:17

First Name                       Daniel

Last Name                        Carr

Make of Class Vehicle            Kia

Year of Class Vehicle            2012

Model of Kia Class Vehicle       Sorento

VIN #                            5XYKTDA61CG269178

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        Yes
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Unsatisfactory
generally:

7. The settlement will           No
appropriately compensate
me.

8. The most important part of    Safety. This vehicle died on us THREE times while driving at high speed. Lucky
the settlement to me is:         neither me wife nor I were hurt (or worse) and each time our kids were not in the
                                 car. The dealership would “fix” then finally put a new engine in it.

This is important to me          So it doesn’t happen to other owners. Also, to hold Kia responsible for the
because:                         fear/inconvenience

9. Additional information or     I will never buy a Kia again!
comments:

10. Select which best applies    I do not support the settlement.
to you:

Today's Date                     10-04-2020

E-sig Signature




Email                            danncarr76@yahoo.com
        Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 10 of 168 Page ID
City                          Ambridge      #:4450

State                        PA
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 11 of 168 Page ID
Hyundai/Kia Declaration                 #:4451
Submission Date                  2020-10-10 07:51:24

First Name                       Pamela

Last Name                        Cherry

Make of Class Vehicle            Hyundai

Year of Class Vehicle            2014

Model of Hyundai Class           Sonata
Vehicle

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        No
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Unsatisfactory
generally:

7. The settlement will           No
appropriately compensate
me.

8. The most important part of    I have not received anything
the settlement to me is:

This is important to me          I paid for my motor out of pocket
because:

10. Select which best applies    I do not support the settlement.
to you:

Today's Date                     10-10-2020

E-sig Signature




Email                            pcherry334@aol.com

City                             Merrillville

State                            IN
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 12 of 168 Page ID
Hyundai/Kia Declaration                 #:4452
Submission Date                  2020-10-07 07:27:17

First Name                       l

Last Name                        combs

Make of Class Vehicle            Hyundai

Year of Class Vehicle            2013

Model of Hyundai Class           Santa Fe Sport
Vehicle

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        Yes
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Unsatisfactory
generally:

7. The settlement will           No
appropriately compensate
me.

8. The most important part of    That is taken care of. But it hasn't been. Seems hyundai tries to find loop holes
the settlement to me is:         not to compensate

This is important to me          I have paid
because:

9. Additional information or     I think more should be done. My motor blew up and left me stranded and I had to
comments:                        pay my towing. Hyundai did everything to get out of repaying me. Not satisfied at
                                 all

10. Select which best applies    I do not support the settlement.
to you:

Today's Date                     10-07-2020

E-sig Signature




Email                            crimsonjai@gmail.com

City                             CRESTVIEW
        Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 13 of 168 Page ID
State                         FL            #:4453
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 14 of 168 Page ID
Hyundai/Kia Declaration                 #:4454
Submission Date                  2020-10-07 01:06:13

First Name                       Theodore

Last Name                        Crews

Make of Class Vehicle            Hyundai

Year of Class Vehicle            2016

Model of Hyundai Class           Sonata
Vehicle

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        No
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Unsatisfactory
generally:

7. The settlement will           No
appropriately compensate
me.

8. The most important part of    ...
the settlement to me is:

This is important to me          ...
because:

10. Select which best applies    I do not support the settlement.
to you:

Today's Date                     10-06-2020

E-sig Signature




Email                            tctcrews@gmail.com

City                             Sacramento

State                            CA
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 15 of 168 Page ID
Hyundai/Kia Declaration                 #:4455
Submission Date                  2020-10-01 18:49:06

First Name                       Jeffrey

Last Name                        DeSantis

Make of Class Vehicle            Kia

Year of Class Vehicle            2014

Model of Kia Class Vehicle       Sorento

VIN #                            5XYKT3A61EG487988

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        Yes
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Unsatisfactory
generally:

7. The settlement will           No
appropriately compensate
me.

8. The most important part of    compensation for all the time, effort and cost with dealing with this
the settlement to me is:

This is important to me          paid a premium for the car and it should perform
because:

10. Select which best applies    I do not support the settlement.
to you:

Today's Date                     10-01-2020

E-sig Signature




Email                            homesedg@hotmail.com

City                             Sarasota

State                            FL
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 16 of 168 Page ID
Hyundai/Kia Declaration                 #:4456
Submission Date                  2020-10-07 06:20:05

First Name                       Robert

Last Name                        Elliott

Make of Class Vehicle            Hyundai

Year of Class Vehicle            2013

Model of Hyundai Class           Sonata
Vehicle

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        No
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Unsatisfactory
generally:

7. The settlement will           No
appropriately compensate
me.

8. The most important part of    See attached
the settlement to me is:

This is important to me          See attached
because:

10. Select which best applies    I do not support the settlement.
to you:

Today's Date                     10-07-2020

E-sig Signature




Email                            ccgselliott@msn.com

City                             Albuquerque

State                            NM
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 17 of 168 Page ID
Hyundai/Kia Declaration                 #:4457
Submission Date                  2020-10-01 17:39:32

First Name                       Donisha

Last Name                        Evans

Make of Class Vehicle            Kia

Year of Class Vehicle            2015

Model of Kia Class Vehicle       Sorento

VIN #                            5XYKT4A61FG596006

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        No
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Unsatisfactory
generally:

7. The settlement will           No
appropriately compensate
me.

8. The most important part of    Getting the money I lost by having to buy a new car because my Kia's engine
the settlement to me is:         died after only owning it for 5 years.

This is important to me          My Kia was paid off and as a single mother, I could not afford a new car or to
because:                         make repairs totalling $6000 for a new engine.

9. Additional information or     I would like to get the value or my car at the time the engine went out. And
comments:                        compensation for a diagnostic test and rental while I searched for another car.
                                 Pain and suffering should be considering because the car was still practically
                                 new and paid over 30,000 for it.

10. Select which best applies    I do not support the settlement.
to you:

Today's Date                     10-01-2020

E-sig Signature




Email                            nisha84unique@gmail.com
        Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 18 of 168 Page ID
City                          Elk Grove     #:4458

State                        CA
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 19 of 168 Page ID
Hyundai/Kia Declaration                 #:4459
Submission Date                  2020-10-10 09:51:53

First Name                       Michele

Last Name                        Forcino

Make of Class Vehicle            Hyundai

Year of Class Vehicle            2012

Model of Hyundai Class           Sonata
Vehicle

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        Yes
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Unsatisfactory
generally:

7. The settlement will           No
appropriately compensate
me.

8. The most important part of    Engine coverage after 100,000 miles!!!
the settlement to me is:

This is important to me          I get no benefit from being sold a car built with issues!
because:

9. Additional information or     I do not want anything additional but to be compensated SHOULD my vehicle
comments:                        suffer and engine failure.

10. Select which best applies    I do not support the settlement.
to you:

Today's Date                     10-10-2020

E-sig Signature




Email                            rforcino@juno.com

City                             Cranston
        Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 20 of 168 Page ID
State                         RI            #:4460
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 21 of 168 Page ID
Hyundai/Kia Declaration                 #:4461
Submission Date                  2020-10-07 21:06:39

First Name                       Marion

Last Name                        German

Make of Class Vehicle            Hyundai

Year of Class Vehicle            2015

Model of Hyundai Class           Sonata
Vehicle

4. I submitted a claim form to   No
obtain settlement benefits.

If no, why?                      I purchased 2 Hyundai Sonatas. Th he engine was replaced twice.
                                 One was lost due to fire and another purchased. 3rd Hyundai and will jot
                                 purchase another.

5. I had the knock sensor        No
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Unsatisfactory
generally:

7. The settlement will           No
appropriately compensate
me.

8. The most important part of    I have not received settlement because I was told I had to purchase another
the settlement to me is:         Hyundai.

This is important to me          I ourchased another and I do jot TRUST Hyundai any longer.
because:

9. Additional information or     I should be compensated for all purchased cars.
comments:

10. Select which best applies    I do not support the settlement.
to you:

Today's Date                     10-07-2020

E-sig Signature
        Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 22 of 168 Page ID
Email                         germanmarion28@gmail.com
                                             #:4462

City                         ALPHARETTA

State                        GA
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 23 of 168 Page ID
Hyundai/Kia Declaration                 #:4463
Submission Date                  2020-10-07 04:23:38

First Name                       Donna

Last Name                        Korenkiewicz

Make of Class Vehicle            Hyundai

Year of Class Vehicle            2013

Model of Hyundai Class           Sonata
Vehicle

VIN #                            5NPEC4AC3DH612070

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        Yes
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Unsatisfactory
generally:

7. The settlement will           No
appropriately compensate
me.

8. The most important part of    I have no news about anything
the settlement to me is:

This is important to me          i had to replace the motor
because:

10. Select which best applies    I do not support the settlement.
to you:

Today's Date                     10-07-2020

E-sig Signature




Email                            donna.korenkiewicz@gmail.com

City                             Northfield

State                            NH
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 24 of 168 Page ID
Hyundai/Kia Declaration                 #:4464
Submission Date                  2020-10-07 08:31:04

First Name                       Michael

Last Name                        Liberatore

Make of Class Vehicle            Hyundai

Year of Class Vehicle            2014

Model of Hyundai Class           Sonata
Vehicle

VIN #                            2G1WT57N191148796

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        No
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Unsatisfactory
generally:

7. The settlement will           No
appropriately compensate
me.

8. The most important part of    I have not received a settlement, notice, update or any communication regarding
the settlement to me is:         this issue.

This is important to me          I have not received a settlement, notice, update or any communication regarding
because:                         this issue.

9. Additional information or     I have not received a settlement, notice, update or any communication regarding
comments:                        this issue.

10. Select which best applies    I do not support the settlement.
to you:

Today's Date                     10-07-2020

E-sig Signature




Email                            mjl-btl@comcast.net
        Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 25 of 168 Page ID
City                          Aliquippa     #:4465

State                        PA
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 26 of 168 Page ID
Hyundai/Kia Declaration                 #:4466
Submission Date                  2020-10-12 11:09:00

First Name                       JOSEPH

Last Name                        LOCK

Make of Class Vehicle            Kia

Year of Class Vehicle            2012

Model of Kia Class Vehicle       Sorento

VIN #                            5XYKT3A67CG294791

4. I submitted a claim form to   Yes
obtain settlement benefits.

If no, why?                      We have not received any compensation.

5. I had the knock sensor        No
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Unsatisfactory
generally:

7. The settlement will           No
appropriately compensate
me.

8. The most important part of    Putting the funds back into our retirement fund.
the settlement to me is:

This is important to me          We had to pay for a defective engine, which we took the money from our
because:                         retirement fund. The engine that was put back in was a rebuild.

9. Additional information or     We traded our 2012 Sorento in for a 2017 Sorento, we did not feel comfortable
comments:                        about a rebuilt motor that had no warranty.

10. Select which best applies    I do not support the settlement.
to you:

Today's Date                     10-12-2020

E-sig Signature




Email                            mojo1lock@yahoo.com
        Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 27 of 168 Page ID
City                          Grandview     #:4467

State                        TX
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 28 of 168 Page ID
Hyundai/Kia Declaration                 #:4468
Submission Date                  2020-10-10 11:08:14

First Name                       Irene

Last Name                        Potter

Make of Class Vehicle            Hyundai

Year of Class Vehicle            2016

Model of Hyundai Class           Sonata
Vehicle

VIN #                            5NPE24AF4GH393203

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        Yes
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Unsatisfactory
generally:

7. The settlement will           No
appropriately compensate
me.

8. The most important part of    While I am appreciative that a settlement was made proactively, it does not
the settlement to me is:         compensate me for the fear and stress of having my car lock up on me on I-5 at
                                 a busy traffic time and the potential danger it represented with a sharp
                                 decceleration.


This is important to me          I was extremely stressed and scared and represented a threat to others.
because:

9. Additional information or     I was registered with Hyundai at the time but there was no notice beforehand
comments:                        that there could be a safety issue.


10. Select which best applies    I do not support the settlement.
to you:

Today's Date                     10-10-2020
        Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 29 of 168 Page ID
E-sig Signature                             #:4469




Email                        keyleyr@netscape.net

City                         Maple Valley

State                        WA
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 30 of 168 Page ID
Hyundai/Kia Declaration                 #:4470
Submission Date                  2020-10-08 17:06:53

First Name                       Miles

Last Name                        Reese

Make of Class Vehicle            Hyundai

Year of Class Vehicle            2013

Model of Hyundai Class           Sonata
Vehicle

VIN #                            5NPEB4ACXCH385588

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        Yes
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Unsatisfactory
generally:

7. The settlement will           No
appropriately compensate
me.

8. The most important part of    I have received no information as to what the settlement is to me.
the settlement to me is:

This is important to me          When I have specific information on MY settlement i.e. a payment made to me
because:                         for the amount of XXX then I will inform you if I am satisfied.

9. Additional information or     As to the settlement and it's benefits, I see no benefit to myself.
comments:

10. Select which best applies    I do not support the settlement.
to you:

Today's Date                     10-08-2020

E-sig Signature




Email                            miles@milesreese.com
        Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 31 of 168 Page ID
City                          Port St Lucie #:4471

State                        FL
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 32 of 168 Page ID
Hyundai/Kia Declaration                 #:4472
Submission Date                  2020-10-01 17:37:19

First Name                       Gail

Last Name                        Renehan

Make of Class Vehicle            Kia

Year of Class Vehicle            2013

Model of Kia Class Vehicle       Sorento

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        Yes
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Unsatisfactory
generally:

7. The settlement will           No
appropriately compensate
me.

8. The most important part of    I had to get rid of my vehicle early due to unfixable problem with oil
the settlement to me is:         consumption/loss and this should have been a known warrantied repair

This is important to me          Instead of still driving the Sorrento vehicle I owned and had paid for, I had to buy
because:                         a new vehicle and trade it in while it was still drivable last year

10. Select which best applies    I do not support the settlement.
to you:

Today's Date                     10-01-2020

E-sig Signature




Email                            kalitim@gmail.com

City                             Laguna Niguel

State                            CA
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 33 of 168 Page ID
Hyundai/Kia Declaration                 #:4473
Submission Date                  2020-10-08 15:46:50

First Name                       Kyung

Last Name                        Ryu

Make of Class Vehicle            Hyundai

Year of Class Vehicle            2011

Model of Hyundai Class           Sonata
Vehicle

VIN #                            5NPEB4AC4BH075158

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        No
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Unsatisfactory
generally:

7. The settlement will           No
appropriately compensate
me.

8. The most important part of    I want additional compensation for the hours of my time and emotional and
the settlement to me is:         physical distress which cannot be substantiated with receipts.

This is important to me          Some costs cannot be substantiated with receipts.
because:

9. Additional information or     My engine died while I was on vacation, over 1000 miles away from home, with
comments:                        a carful of my friends in a National Park. I was forced to have my car towed to
                                 the nearest garage and rent a car. Then I had to figure out how to transport my
                                 non-functioning car from a remote location over 1000 miles to my local Hyundai
                                 dealer for repair. It took 3 different towing companies coordinating dropoffs and
                                 pickups since it was in Yellowstone National Park where private operators are
                                 not allowed. In addition, it was near the close of the season so I was operating
                                 under a time crunch. This whole ordeal took months to sort out and HOURS of
                                 time, not to mention the emotional stress of this happening to an elderly woman
                                 and her friends in a remote national park.

10. Select which best applies    I do not support the settlement.
to you:

Today's Date                     10-08-2020
        Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 34 of 168 Page ID
E-sig Signature                             #:4474




Email                        jusim41@gmail.com

City                         Los Angeles

State                        CA
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 35 of 168 Page ID
Hyundai/Kia Declaration                 #:4475
Submission Date                  2020-10-07 01:39:07

First Name                       keith

Last Name                        siilats

Make of Class Vehicle            Hyundai

Year of Class Vehicle            2011

Model of Hyundai Class           Santa Fe Sport
Vehicle

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        Yes
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Unsatisfactory
generally:

7. The settlement will           No
appropriately compensate
me.

8. The most important part of    money
the settlement to me is:

This is important to me          my car went on fire
because:

10. Select which best applies    I do not support the settlement.
to you:

Today's Date                     10-07-2020

E-sig Signature




Email                            keith@siilats.com

City                             miami beach

State                            FL
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 36 of 168 Page ID
Hyundai/Kia Declaration                 #:4476
Submission Date                  2020-10-07 08:05:41

First Name                       Andrew

Last Name                        Taormina

Make of Class Vehicle            Hyundai

Year of Class Vehicle            2012

Model of Hyundai Class           Sonata
Vehicle

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        No
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Unsatisfactory
generally:

7. The settlement will           No
appropriately compensate
me.

8. The most important part of    The most important part of the settlement to me is the fact that we are holding
the settlement to me is:         Hyundai and Kia responsible for such a terrible act of negligence. I do not
                                 believe that this is enough to hold the companies responsible. I am basing this
                                 opinion on how dangerous my particular situation was when the vehicle
                                 experienced a catastrophic failure within 12 hours of signing the purchase
                                 documents. This settlement should include a higher compensation by those
                                 directly affected by this catastrophic engine failure, including those that did and
                                 did not catch fire, along with an unlimited bumper-to-bumper warranty on the
                                 affected vehicle, and including a rebate of fifty to sixty percent off the MSRP of a
                                 new vehicle purchase that may be used by the affected owners within four years
                                 of rebate issue.

This is important to me          This is important to me due to the danger that I was in when the engine suddenly
because:                         encountered a catastrophic failure, almost causing three separate semi-trailers
                                 to collide with me, which ultimately would have ended in my death. The
                                 dealership knew about the issue, but decided this vehicle was not affected as it
                                 was not symptomatic during the sale. Hyundai knew about the issue and
                                 provided a voluntary recall to have the issue addressed, and waited for the
                                 catastrophic failure before providing any repair, ultimately putting owners,
                                 children, and other drivers on the road in the greatest danger, all to save some
                                 money. This is unacceptable and it is my opinion that these companies be held
                                 to the maximum amounts in the settlement allowed by law. This is in an attempt
                                 to prevent this company from future negligence, sitting behind the desk
                                 collecting money from the same people that they are allowing to be harmed by
                                 their products. This is unacceptable. These companies are not only negligent,
                                 but also criminals.
        Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 37 of 168 Page ID
9. Additional information or  The worst part of it all is how the Hyundai dealership sold the vehicle to me 12
                                                   #:4477
comments:                          hours before the catastrophic engine failure, and never once informed me of the
                                   recall, as the vehicle was not showing "symptoms" during the process of the
                                   sale. The dealership would not state if they would repair the vehicle free of cost,
                                   or even provide a loaner vehicle, until I mentioned about getting an attorney for
                                   them selling a vehicle that had KNOWN dangerous recalls on the vehicle. The
                                   entire issue went on for months, attempting to get my vehicle repaired, calling for
                                   updates, and no one knew anything that was going on.

10. Select which best applies      I do not support the settlement.
to you:

Today's Date                       10-07-2020

E-sig Signature




Email                              andrew.taormina@gmail.com

City                               Oakmont

State                              PA
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 38 of 168 Page ID
Hyundai/Kia Declaration                 #:4478
Submission Date                  2020-10-02 15:02:59

First Name                       Giovanni

Last Name                        Villalta

Make of Class Vehicle            Kia

Year of Class Vehicle            2017

Model of Kia Class Vehicle       Optima

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        No
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Unsatisfactory
generally:

7. The settlement will           No
appropriately compensate
me.

8. The most important part of    I get compensated for all the damages i have inquired since the car accident
the settlement to me is:

This is important to me          I do not want engine failure to possibly hurt and damage any other people!
because:

9. Additional information or     I got in a car accident with this vehicle and now i know that it might been to
comments:                        engine failure

10. Select which best applies    I do not support the settlement.
to you:

Today's Date                     10-02-2020

E-sig Signature




Email                            giovillalta09@hotmail.con

City                             Canoga park

State                            CA
Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 39 of 168 Page ID
                                    #:4479




           EXHIBIT 2
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 40 of 168 Page ID
Hyundai/Kia Declaration                 #:4480
Submission Date                  2020-10-01 17:32:13

First Name                       Jacob

Last Name                        Shear

Make of Class Vehicle            Kia

Year of Class Vehicle            2014

Model of Kia Class Vehicle       Sorento

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        No
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    That people are aware that these vehicles are not safe..
the settlement to me is:

This is important to me          My family uses the kia
because:

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-01-2020

E-sig Signature




Email                            Jacobandjennette@gmail.com

City                             South bend

State                            IN
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 41 of 168 Page ID
Hyundai/Kia Declaration                 #:4481
Submission Date                  2020-10-01 17:31:39

First Name                       David

Last Name                        Katz

Make of Class Vehicle            Kia

Year of Class Vehicle            2013

Model of Kia Class Vehicle       Sorento

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        No
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    Getting reimbursed for the repairs I incurred
the settlement to me is:

This is important to me          I was out a lot of money for something that wasn’t my fault.
because:

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-01-2020

E-sig Signature




Email                            dkatzmem@yahoo.com

City                             Memphis

State                            TN
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 42 of 168 Page ID
Hyundai/Kia Declaration                 #:4482
Submission Date                  2020-10-01 17:30:43

First Name                       Robin

Last Name                        Hackworth

Make of Class Vehicle            Kia

Year of Class Vehicle            2015

Model of Kia Class Vehicle       Sorento

VIN #                            5xyktca66fg613215

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        Yes
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    Reimbursement for repair costs and all costs associated with the repair.
the settlement to me is:

This is important to me          I have a family to support.
because:

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-01-2020

E-sig Signature




Email                            nooneelse8@yahoo.com

City                             Loves Park

State                            IL
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 43 of 168 Page ID
Hyundai/Kia Declaration                 #:4483
Submission Date                  2020-10-01 17:29:52

First Name                       Colleen

Last Name                        Riggle

Make of Class Vehicle            Kia

Year of Class Vehicle            2014

Model of Kia Class Vehicle       Sorento

VIN #                            5XYKT4A64EG533531

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        No
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    We would like to recover the additional towing fees we had to pay out of pocket.
the settlement to me is:

This is important to me          We had to have the car towed twice, because we did not know it was a engine
because:                         issue that could potentially be covered under a recall.

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-01-2020

E-sig Signature




Email                            cmriggle@gmail.com

City                             Tyrone

State                            GA
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 44 of 168 Page ID
Hyundai/Kia Declaration                 #:4484
Submission Date                  2020-10-01 17:29:15

First Name                       Eugene

Last Name                        Mapp

Make of Class Vehicle            Kia

Year of Class Vehicle            2013

Model of Kia Class Vehicle       Optima

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        Yes
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    Hoping that this settlement gets approved for the individuals affected by this
the settlement to me is:         matter

This is important to me          So the individuals affected by this settlement could finally get reimbursed from
because:                         Kia / Hyundai errors

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-01-2020

E-sig Signature




Email                            e.mappjr@gmail.com

City                             Carlsbad

State                            CA
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 45 of 168 Page ID
Hyundai/Kia Declaration                 #:4485
Submission Date                  2020-10-01 17:25:16

First Name                       Love

Last Name                        Romain

Make of Class Vehicle            Kia

Year of Class Vehicle            2016

Model of Kia Class Vehicle       Optima

VIN #                            5XXGU4L34GG043099

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        No
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    This settlement is important to me because it will give me the minimum financial
the settlement to me is:         fulfillment to make up for Kia’s irresponsible action or inactions.

This is important to me          I want to safely operate my vehicle now that I am aware of why my vehicle
because:                         experiences the mechanical issues described in the lawsuit.

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-01-2020

E-sig Signature




Email                            lromain@g.clemson.edu

City                             Los Angeles

State                            CA
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 46 of 168 Page ID
Hyundai/Kia Declaration                 #:4486
Submission Date                  2020-10-01 17:20:21

First Name                       Hunter

Last Name                        Slaton

Make of Class Vehicle            Kia

Year of Class Vehicle            2017

Model of Kia Class Vehicle       Optima

VIN #                            Don’t remember sold

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        Yes
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    I lost a lot of money on my trade because of the engine issues which is the
the settlement to me is:         reason I traded it in the 1st place

This is important to me          I lost my ass on trade for new Kia
because:

9. Additional information or     None
comments:

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-01-2020

E-sig Signature




Email                            hunterslaton@aol.com

City                             Sherrills Ford
        Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 47 of 168 Page ID
State                         NC            #:4487
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 48 of 168 Page ID
Hyundai/Kia Declaration                 #:4488
Submission Date                  2020-10-02 06:55:47

First Name                       Kimberly

Last Name                        Dillson

Make of Class Vehicle            Kia

Year of Class Vehicle            2014

Model of Kia Class Vehicle       Optima

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        Yes
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    Being compensated for the repairs that I paid for. The car had 34,000 miles on it
the settlement to me is:         when the engine blew. Kia should have covered this under the 100,000 mile
                                 warranty.

This is important to me          Receive a refund for repairs and inconvenience.
because:

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-02-2020

E-sig Signature




Email                            kdillson70@comcast.net

City                             Chickamauga

State                            GA
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 49 of 168 Page ID
Hyundai/Kia Declaration                 #:4489
Submission Date                  2020-10-02 07:03:51

First Name                       BRENDIE

Last Name                        LOWE

Make of Class Vehicle            Kia

Year of Class Vehicle            2012

Model of Kia Class Vehicle       Sorento

VIN #                            5XYKT3A65CG267251

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        Yes
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    Reimbursement of cost obtained in repairs to the 2012 Kia Sorento.
the settlement to me is:

This is important to me          To obtain monetary reimbursement of expenses on said vehicle.
because:

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-02-2020

E-sig Signature




Email                            BLOWE@JOHNSONBATTERY.NET

City                             ZEBULON

State                            GA
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 50 of 168 Page ID
Hyundai/Kia Declaration                 #:4490
Submission Date                  2020-10-02 07:06:13

First Name                       Kimberly

Last Name                        Atkinson

Make of Class Vehicle            Kia

Year of Class Vehicle            2015

Model of Kia Class Vehicle       Sorento

VIN #                            5XYKT3A64FG620888

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        Yes
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    The most important part of the settlement to me is receiving all my money back
the settlement to me is:         that I put into getting my Kia fixed. Also receive compensation for when car broke
                                 down on the highway (being stranded) until tow truck arrive. Just frustrated
                                 about how to pay to get truck fixed. Going to the Kia dealership to get it fixed
                                 (well thinking it was fixed) but it would brake down again with the same issues.

This is important to me          Just knowing that I can receive my funds back.
because:

9. Additional information or     I had to also replace the starter in my vehicle and that was extra money out my
comments:                        pocket

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-02-2020

E-sig Signature
        Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 51 of 168 Page ID
Email                         kimandken0312@gmail.com
                                             #:4491

City                         Elm City

State                        NC
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 52 of 168 Page ID
Hyundai/Kia Declaration                 #:4492
Submission Date                  2020-10-02 07:22:41

First Name                       Zachary

Last Name                        Wheeler

Make of Class Vehicle            Kia

Year of Class Vehicle            2012

Model of Kia Class Vehicle       Sorento

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        No
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    That I can get money to replace the engine.
the settlement to me is:

This is important to me          I need my vehicle and I am still making payments on it and engines are
because:                         expensive, and it's not my fault it's not working.

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-02-2020

E-sig Signature




Email                            Lizzywheeler277@gmail.com

City                             Dover

State                            DE
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 53 of 168 Page ID
Hyundai/Kia Declaration                 #:4493
Submission Date                  2020-10-02 07:24:36

First Name                       Ashley

Last Name                        Earner

Make of Class Vehicle            Kia

Year of Class Vehicle            2015

Model of Kia Class Vehicle       Sorento

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        No
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    that people that have experienced these issues are reimbursed
the settlement to me is:

This is important to me          I am fortunate to not have experienced any issues but did purchase this vehicle
because:                         and know what to be on the look out for in the future.

9. Additional information or     I have not experienced any of the engine issues mentioned in the settlement. I
comments:                        do own/pay for my 2015 Kia Sorento. I take it in for normal oil changes, check
                                 tire pressure and any issues that arise. Did receive something back in 2018/2019
                                 about a recall. Took it to the dealership where I purchased it and was told it was
                                 fine. Haven't received anything since. Received the settlement notice a month or
                                 so ago and completed.

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-02-2020

E-sig Signature




Email                            bostonsbaby0522@gmail.com
        Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 54 of 168 Page ID
City                          Hull          #:4494

State                        MA
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 55 of 168 Page ID
Hyundai/Kia Declaration                 #:4495
Submission Date                  2020-10-02 07:36:08

First Name                       Brian

Last Name                        Tierney

Make of Class Vehicle            Kia

Year of Class Vehicle            2012

Model of Kia Class Vehicle       Sorento

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        No
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    Proper compensation for the vehicle that died and forced me to purchase a new
the settlement to me is:         vehicle

This is important to me          I brought the vehicle to Kia for them to inspect and they "found nothing wrong"
because:                         then shortly after it died

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-02-2020

E-sig Signature




Email                            Redevils2113@gmail.com

City                             Fairhaven

State                            MA
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 56 of 168 Page ID
Hyundai/Kia Declaration                 #:4496
Submission Date                  2020-10-02 08:18:21

First Name                       Stephen

Last Name                        Jamison

Make of Class Vehicle            Kia

Year of Class Vehicle            2012

Model of Kia Class Vehicle       Sorento

VIN #                            5XYKTDA61CG240893

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        Yes
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    I don't believe KIA adequately warned owners of cars with this engine that
the settlement to me is:         catastrophic failure could happen. I also don't believe KIA was forthright in
                                 informing owners of cars with this engine how to deal with a catastrophic failure:
                                 i.e. the car must be towed to a KIA dealer. Obviously, that would have been my
                                 first choice but the KIA dealership in Butte, MT was out-of-business and the next
                                 nearest was 150 miles away. This settlement at least addresses the second
                                 concern by allowing me to be reimbursed after the engine replacement was
                                 done by a non-KIA dealership.

This is important to me          The cost of replacing the engine and renting a car for the week was substantial
because:                         as I am retired and on a fixed income.

9. Additional information or     Thank you for contacting me.
comments:

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-02-2020
        Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 57 of 168 Page ID
E-sig Signature                             #:4497




Email                        srjamison@gmail.com

City                         Mercersburg

State                        PA
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 58 of 168 Page ID
Hyundai/Kia Declaration                 #:4498
Submission Date                  2020-10-01 20:23:18

First Name                       Jack

Last Name                        Chen

Make of Class Vehicle            Kia

Year of Class Vehicle            2016

Model of Kia Class Vehicle       Optima

4. I submitted a claim form to   No
obtain settlement benefits.

If no, why?                      I was not sent a settlement form. Would like a copy of it.

5. I had the knock sensor        No
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    monetary reimbursement and lifetime warranty
the settlement to me is:

This is important to me          I need to properly plan for mishaps due to Kia's failure
because:

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-01-2020

E-sig Signature




Email                            jcc@gmx.us

City                             Houston

State                            TX
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 59 of 168 Page ID
Hyundai/Kia Declaration                 #:4499
Submission Date                  2020-10-01 20:23:45

First Name                       Courtney

Last Name                        Hamilton

Make of Class Vehicle            Kia

Year of Class Vehicle            2012

Model of Kia Class Vehicle       Sorento

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        Yes
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           No
appropriately compensate
me.

8. The most important part of    That Kia has to suffer a monetary loss because they were so unhelpful and
the settlement to me is:         difficult to work with throughout the process.

This is important to me          They actually lost my vehicle, at one point and barely apologized. I want them to
because:                         suffer the way I am many others did due to their negligence.

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-01-2020

E-sig Signature




Email                            courtface17@yahoo.com

City                             Baltimore

State                            MD
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 60 of 168 Page ID
Hyundai/Kia Declaration                 #:4500
Submission Date                  2020-10-01 20:32:24

First Name                       Daniel

Last Name                        Daigneault

Make of Class Vehicle            Kia

Year of Class Vehicle            2012

Model of Kia Class Vehicle       Optima

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        Yes
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           No
appropriately compensate
me.

8. The most important part of    Warranty/compensation
the settlement to me is:

This is important to me          Future problems will be fixed
because:

9. Additional information or     I am disappointed that the compensation is not more.
comments:

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-01-2020

E-sig Signature




Email                            cdaigneault1@nycap.rr.com

City                             Rensselaer

State                            NY
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 61 of 168 Page ID
Hyundai/Kia Declaration                 #:4501
Submission Date                  2020-10-01 20:36:24

First Name                       Mike

Last Name                        Ilic

Make of Class Vehicle            Kia

Year of Class Vehicle            2013

Model of Kia Class Vehicle       Optima

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        Yes
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    Receiving reimbursement for my out of pocket money I had to pay to replace my
the settlement to me is:         faulty kia's engine.

This is important to me          It was a significant amount of money and I was treated unfairly by KIA.
because:

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-01-2020

E-sig Signature




Email                            mikeilic@gmail.com

City                             Plainfield

State                            IL
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 62 of 168 Page ID
Hyundai/Kia Declaration                 #:4502
Submission Date                  2020-10-01 20:49:21

First Name                       Belinda

Last Name                        Hodge

Make of Class Vehicle            Kia

Year of Class Vehicle            2016

Model of Kia Class Vehicle       Optima

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        Yes
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    Lifetime power train warranty.
the settlement to me is:

This is important to me          One less thing to worry about.
because:

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-01-2020

E-sig Signature




Email                            belindahodge0@gmail.com

City                             Columbia

State                            TN
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 63 of 168 Page ID
Hyundai/Kia Declaration                 #:4503
Submission Date                  2020-10-01 21:08:22

First Name                       Judy

Last Name                        Loucks

Make of Class Vehicle            Kia

Year of Class Vehicle            2015

Model of Kia Class Vehicle       Sorento

VIN #                            5XYKTDA67FG605744

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        Yes
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    The money I lost an the lifetime warranty for my motor
the settlement to me is:

This is important to me          I would not have been able to afford the cost for the repairs.
because:

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-01-2020

E-sig Signature




Email                            jlouckscase@yahoo.com

City                             Gloversville

State                            NY
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 64 of 168 Page ID
Hyundai/Kia Declaration                 #:4504
Submission Date                  2020-10-01 20:16:23

First Name                       Barry

Last Name                        Fuller

Make of Class Vehicle            Kia

Year of Class Vehicle            2012

Model of Kia Class Vehicle       Optima

VIN #                            5XXGR4A64CG025730

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        Yes
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    Refund for the money I lost when I had to sell my car for salvage due to KiA’s
the settlement to me is:         unwillingness to recall the engine sooner.

This is important to me          I lost $2,400 due to their negligence.
because:

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-01-2020

E-sig Signature




Email                            bfuller03@att.net

City                             Decatur

State                            AL
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 65 of 168 Page ID
Hyundai/Kia Declaration                 #:4505
Submission Date                  2020-10-01 20:14:49

First Name                       Jeana

Last Name                        Rafanello

Make of Class Vehicle            Kia

Year of Class Vehicle            2017

Model of Kia Class Vehicle       Optima

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        Yes
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    Reimbursement for all the aggravation I had with this car!
the settlement to me is:

This is important to me          The Kia that I was talked into buying was a lemon I had nothing but mechanical
because:                         engine failures on my vehicle. It was a complete nightmare for 3 years so as of
                                 July 2020 I had to get rid of the car. It was unfair that I had so many issues with
                                 my vehicle, time spent at the service department, money spent, aggravated, it
                                 was so bad I just stopped driving the car cause it was unsafe.

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-01-2020

E-sig Signature




Email                            jraf7880@gmail.com

City                             Long Branch

State                            NJ
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 66 of 168 Page ID
Hyundai/Kia Declaration                 #:4506
Submission Date                  2020-10-01 20:04:00

First Name                       Daniel

Last Name                        Salisbury

Make of Class Vehicle            Kia

Year of Class Vehicle            2013

Model of Kia Class Vehicle       Sorento

VIN #                            5XYKTDA64DG376873

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        No
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    Paying me back for finances I lost in this endeavor.....and, accountability for
the settlement to me is:         them knowing this was an issue

This is important to me          I lost a lot of money and trusted Kia to make a safe vehicle for my wife, myself
because:                         and most importantly; our 16 yr old son !!!

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-01-2020

E-sig Signature




Email                            dan_jlyn@comcast.net

City                             Wilton

State                            NH
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 67 of 168 Page ID
Hyundai/Kia Declaration                 #:4507
Submission Date                  2020-10-01 20:03:52

First Name                       Brandis

Last Name                        Potts

Make of Class Vehicle            Kia

Year of Class Vehicle            2013

Model of Kia Class Vehicle       Optima

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        No
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    Getting money to pay my loan off for a car that doesn't work
the settlement to me is:

This is important to me          I have two car notes
because:

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-01-2020

E-sig Signature




Email                            brandis.potts@yahoo.com

City                             Memphis

State                            TN
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 68 of 168 Page ID
Hyundai/Kia Declaration                 #:4508
Submission Date                  2020-10-01 19:58:15

First Name                       Kimberly

Last Name                        Epps

Make of Class Vehicle            Kia

Year of Class Vehicle            2013

Model of Kia Class Vehicle       Optima

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        Yes
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           No
appropriately compensate
me.

8. The most important part of    To make sure people are accommodated for there lost.
the settlement to me is:

This is important to me          I was in the middle of traffic on the way to work when my engine went out and it
because:                         could of turned out a lot worst than it did. Kia gave me a very hard time when it
                                 came to getting my car fixed they where trying to say it was my fault until I pulled
                                 out all my oil change paperwork and also told them that I was doing my own
                                 investigation on that going on with the Kia

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-01-2020

E-sig Signature




Email                            kimepps71@yahoo.com

City                             Chesapeake

State                            VA
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 69 of 168 Page ID
Hyundai/Kia Declaration                 #:4509
Submission Date                  2020-10-01 18:16:01

First Name                       Rose

Last Name                        Kelly

Make of Class Vehicle            Kia

Year of Class Vehicle            2015

Model of Kia Class Vehicle       Sorento

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        No
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    People receive fair financial compensation quickly
the settlement to me is:

This is important to me          People have out of pocket expenses, took a financial hit & suffered because of
because:                         this issue

9. Additional information or     The settlement did not take into consideration people, like me, who decided to
comments:                        trade their KIA in on another car

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-01-2020

E-sig Signature




Email                            roseyreal@hotmail.com

City                             Hazleton

State                            PA
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 70 of 168 Page ID
Hyundai/Kia Declaration                 #:4510
Submission Date                  2020-10-01 18:11:06

First Name                       Alan

Last Name                        Jouban

Make of Class Vehicle            Kia

Year of Class Vehicle            2012

Model of Kia Class Vehicle       Optima

VIN #                            5xxgr4a69cg078245

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        Yes
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    Getting reimbursed for the money I had to spend on the engine of the car
the settlement to me is:

This is important to me          The car should not have broke
because:

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-01-2020

E-sig Signature




Email                            alanjouban@gmail.com

City                             Reseda

State                            CA
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 71 of 168 Page ID
Hyundai/Kia Declaration                 #:4511
Submission Date                  2020-10-01 18:10:49

First Name                       Maria

Last Name                        Barron

Make of Class Vehicle            Kia

Year of Class Vehicle            2014

Model of Kia Class Vehicle       Sorento

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        Yes
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    To make people aware
the settlement to me is:

This is important to me          Safety and awareness
because:

9. Additional information or     Car was serviced when there were recalls not sure if knock sensor was updated
comments:                        but pretty sure it was.

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-01-2020

E-sig Signature




Email                            M.BARRON74@YAHOO.COM

City                             Corpus Christi

State                            TX
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 72 of 168 Page ID
Hyundai/Kia Declaration                 #:4512
Submission Date                  2020-10-01 18:08:51

First Name                       Jayne

Last Name                        Riley

Make of Class Vehicle            Kia

Year of Class Vehicle            2013

Model of Kia Class Vehicle       Sorento

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        Yes
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           No
appropriately compensate
me.

8. The most important part of    Being reimbursed for my wasted time and money spent on things I shouldn’t
the settlement to me is:         have had to spend money on because Kia is incompetent. But I don’t expect I
                                 will be fully reimbursed for the things I should be reimbursed for.

This is important to me          This is important because they screwed me multiple times and I deserve to be
because:                         reimbursed.

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-01-2020

E-sig Signature




Email                            jayne11492@yahoo.com

City                             Richmond

State                            VT
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 73 of 168 Page ID
Hyundai/Kia Declaration                 #:4513
Submission Date                  2020-10-01 18:08:34

First Name                       Susan

Last Name                        Barton

Make of Class Vehicle            Kia

Year of Class Vehicle            2012

Model of Kia Class Vehicle       Sorento

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        Yes
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    That the car's get fixed.
the settlement to me is:

This is important to me          My car broke down 2 times and I needed two engines. I was stranded out of
because:                         state with my family both times.

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-01-2020

E-sig Signature




Email                            sbarton1974@gmail.com

City                             Wilmington

State                            DE
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 74 of 168 Page ID
Hyundai/Kia Declaration                 #:4514
Submission Date                  2020-10-01 18:07:55

First Name                       Matthew

Last Name                        LeHew

Make of Class Vehicle            Kia

Year of Class Vehicle            2015

Model of Kia Class Vehicle       Sorento

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        No
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    Getting reimbursed for the engine replacement.
the settlement to me is:

This is important to me          The engine replacement cost thousands of dollars. Neither Kia nor our extended
because:                         warranty covered it despite the Kia service tech telling us it wasn’t our fault. It set
                                 us back from buying our first house over a year.

9. Additional information or     We were overjoyed to hear about this settlement and hope we can be made
comments:                        whole.

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-01-2020

E-sig Signature




Email                            matthewlehew@gmail.com

City                             Marietta
        Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 75 of 168 Page ID
State                         GA            #:4515
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 76 of 168 Page ID
Hyundai/Kia Declaration                 #:4516
Submission Date                  2020-10-01 18:05:00

First Name                       Doug

Last Name                        Belkofer

Make of Class Vehicle            Kia

Year of Class Vehicle            2015

Model of Kia Class Vehicle       Optima

VIN #                            5XXGN4A75FG373478

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        No
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    Monetary reimbursement, as I no longer own the vehicle.
the settlement to me is:

This is important to me          It is the only option that will benefit me.
because:

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-01-2020

E-sig Signature




Email                            doug.belkofer@gmail.com

City                             Euless

State                            TX
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 77 of 168 Page ID
Hyundai/Kia Declaration                 #:4517
Submission Date                  2020-10-01 18:04:52

First Name                       Terrence

Last Name                        Koscinski

Make of Class Vehicle            Kia

Year of Class Vehicle            2014

Model of Kia Class Vehicle       Sorento

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        Yes
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    Reimbursement for expenses
the settlement to me is:

This is important to me          Fair request
because:

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-01-2020

E-sig Signature




Email                            ksinski1@gmail.com

City                             Grayslake

State                            IL
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 78 of 168 Page ID
Hyundai/Kia Declaration                 #:4518
Submission Date                  2020-10-01 18:02:31

First Name                       Roger

Last Name                        Hughes

Make of Class Vehicle            Kia

Year of Class Vehicle            2015

Model of Kia Class Vehicle       Sorento

VIN #                            5XYKTCA61FG594699

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        No
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    The most important part of this settlement is the financial reimbursement for the
the settlement to me is:         motor I had to purchase.

This is important to me          I had the motor stall out on a busy California freeway and it took me weeks to get
because:                         it fixed. I also had to put the new motor expense on a credit card with interest
                                 and rent a car. I’m okay with not being compensated for all those other expenses
                                 as long as I can get the cost and labor of the repairs covered.

9. Additional information or     It saddens me to think the scary experience of my car stalling (with my daughter
comments:                        in the car) on an 80mph

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-01-2020

E-sig Signature




Email                            RJ@RJLHughes.com
        Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 79 of 168 Page ID
City                          Mission Viejo #:4519

State                        CA
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 80 of 168 Page ID
Hyundai/Kia Declaration                 #:4520
Submission Date                  2020-10-07 09:24:32

First Name                       Sandra

Last Name                        Vera

Make of Class Vehicle            Hyundai

Year of Class Vehicle            2013

Model of Hyundai Class           Sonata
Vehicle

VIN #                            5NPEB4AC7DH606162

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        Yes
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           No
appropriately compensate
me.

8. The most important part of    That I get the money I put to fixing my every day car back.
the settlement to me is:

This is important to me          I’ve had this car for 6 years and it is my daily car.
because:

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-07-2020

E-sig Signature




Email                            vera32.sv@gmail.com

City                             Irrigon

State                            OR
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 81 of 168 Page ID
Hyundai/Kia Declaration                 #:4521
Submission Date                  2020-10-07 09:23:30

First Name                       Gretchen

Last Name                        Prince

Make of Class Vehicle            Hyundai

Year of Class Vehicle            2016

Model of Hyundai Class           Santa Fe Sport
Vehicle

VIN #                            5XYZUDLB7GG313888

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        Yes
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    To receive the payment for the repairs needed in my car. This was an
the settlement to me is:         unexpected bill of $5551.34.

This is important to me          My car is only 4 years old and it was dangerously stalling when I was driving. I
because:                         believe Hynudai was at fault and I feel I should be compensated and pair for the
                                 repair needed.

9. Additional information or     I have not received my settlement benefits as of 10/7/2020
comments:

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-07-2020

E-sig Signature




Email                            gretchofchen@msn.com
        Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 82 of 168 Page ID
City                          Atlantic City #:4522

State                        NJ
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 83 of 168 Page ID
Hyundai/Kia Declaration                 #:4523
Submission Date                  2020-10-07 09:17:50

First Name                       David

Last Name                        Godwin

Make of Class Vehicle            Hyundai

Year of Class Vehicle            2012

Model of Hyundai Class           Sonata
Vehicle

VIN #                            5NPEB4AC8CH400444

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        No
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    Get reimbursement as it cost me a lot and affected my job
the settlement to me is:

This is important to me          It happened at a time of grate uncertainty with the pandemic and rose my
because:                         anxiety level fighting for my job.

9. Additional information or     I loved my car and wish production was done right
comments:

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-07-2020

E-sig Signature




Email                            iamgodwindavid@yahoo.com
        Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 84 of 168 Page ID
City                          Atlanta       #:4524

State                        GA
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 85 of 168 Page ID
Hyundai/Kia Declaration                 #:4525
Submission Date                  2020-10-07 09:12:21

First Name                       Gerald

Last Name                        Willis

Make of Class Vehicle            Hyundai

Year of Class Vehicle            2017

Model of Hyundai Class           Santa Fe Sport
Vehicle

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        Yes
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           No
appropriately compensate
me.

8. The most important part of    Timely results and payment.
the settlement to me is:

This is important to me          I may not have the car as long as it may take to do the settlement.
because:

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-07-2020

E-sig Signature




Email                            gwillisnv@sbcglobal.net

City                             Canon City

State                            CO
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 86 of 168 Page ID
Hyundai/Kia Declaration                 #:4526
Submission Date                  2020-10-07 09:07:37

First Name                       Michael

Last Name                        Tzipori

Make of Class Vehicle            Hyundai

Year of Class Vehicle            2013

Model of Hyundai Class           Sonata
Vehicle

VIN #                            5NPEB4AC2DH603475

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        No
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    Monetary. Hyundai needs to compensate me. I suffered a significant financial
the settlement to me is:         loss when my car's engine seized. I only had 80,000 miles on my car.

This is important to me          I feel cheated and endangered by Hyundai that it knew of a damaging flaw in my
because:                         car, which led to being abruptly stranded in the midst of heavy traffic on an LA
                                 freeway. It was foreseeable that an owner of these defective cars could be
                                 severely injured or killed when the engine seizure occurred. I find this extremely
                                 callous and negligent.

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-07-2020

E-sig Signature




Email                            michaelbirdboy324@gmail.com
        Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 87 of 168 Page ID
City                          Ventura       #:4527

State                        CA
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 88 of 168 Page ID
Hyundai/Kia Declaration                 #:4528
Submission Date                  2020-10-07 09:01:29

First Name                       Sheya

Last Name                        Stephens

Make of Class Vehicle            Hyundai

Year of Class Vehicle            2013

Model of Hyundai Class           Sonata
Vehicle

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        No
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    Reimbursement of costs for towing, repairs and rental cars
the settlement to me is:

This is important to me          The repairs ware a financial hardship to my family however; we made the
because:                         decision to spend the money because I needed a car and the warranty would
                                 ensure future safety and peace of mind while driving with my family.

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-07-2020

E-sig Signature




Email                            babyrae0712@gmail.com

City                             Meridian

State                            ID
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 89 of 168 Page ID
Hyundai/Kia Declaration                 #:4529
Submission Date                  2020-10-07 09:00:59

First Name                       Charles

Last Name                        Harris

Make of Class Vehicle            Hyundai

Year of Class Vehicle            2012

Model of Hyundai Class           Sonata
Vehicle

VIN #                            5NPEC4AB7CH373497

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        Yes
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    I had to replace the engine and the cars was in good condition overall.
the settlement to me is:

This is important to me          We're in hard times at the moment and having to spend money on a motor for a
because:                         car that had only 106,000 miles on it is rediculious

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-07-2020

E-sig Signature




Email                            charlesharris076@gmail.com

City                             Lexington

State                            TN
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 90 of 168 Page ID
Hyundai/Kia Declaration                 #:4530
Submission Date                  2020-10-07 09:00:55

First Name                       Holli

Last Name                        Olivier

Make of Class Vehicle            Hyundai

Year of Class Vehicle            2013

Model of Hyundai Class           Sonata
Vehicle

VIN #                            5NPEB4AC8DH512078

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        No
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    Receiving compensation in a timely manner. I was, literally, left stranded due to
the settlement to me is:         the engine failure in my 2013 Sonata. I am unsure if the knock sensor detection
                                 system update was performed on my vehicle as I sold it after the engine
                                 replacement. (I previously sent proof of the repairs)

This is important to me          This is important to me because I was without my vehicle for over two months
because:                         (forced to obtain a rental). I then lost faith in my 2013 Sonata and had to pay,
                                 out-of-pocket, for a down payment on a new vehicle. Had my Sonata not failed
                                 me, I would still own it and not have had to come up with the cash payment that I
                                 put down on my new vehicle.

9. Additional information or     I would like to be kept up-to-date on the progress of this settlement.
comments:

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-07-2020
        Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 91 of 168 Page ID
E-sig Signature                             #:4531




Email                        holivier@auburnmaine.gov

City                         Greene

State                        ME
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 92 of 168 Page ID
Hyundai/Kia Declaration                 #:4532
Submission Date                  2020-10-07 07:42:57

First Name                       Terri

Last Name                        Armstead

Make of Class Vehicle            Hyundai

Year of Class Vehicle            2011

Model of Hyundai Class           Sonata
Vehicle

VIN #                            5NPEC4AC4BH250537

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        No
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    Is that I get reimbursed for the cost of wrist I paid for my engine and services!!
the settlement to me is:         Also Rental car that I had to Obtain!

This is important to me          I truly believe all hyndai owners dealing with this should be reimbursed!!
because:

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-07-2020

E-sig Signature




Email                            armsteadterri1981@gmail.com

City                             Scott

State                            LA
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 93 of 168 Page ID
Hyundai/Kia Declaration                 #:4533
Submission Date                  2020-10-07 07:39:00

First Name                       Steve

Last Name                        Kasal

Make of Class Vehicle            Hyundai

Year of Class Vehicle            2014

Model of Hyundai Class           Santa Fe Sport
Vehicle

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        Yes
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    Lifetime warranty and towing reimbursement
the settlement to me is:

This is important to me          Compensates me
because:

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-07-2020

E-sig Signature




Email                            kasal4@comcast.net

City                             Fox Island

State                            WA
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 94 of 168 Page ID
Hyundai/Kia Declaration                 #:4534
Submission Date                  2020-10-07 07:33:27

First Name                       ALAN

Last Name                        DEVINE

Make of Class Vehicle            Hyundai

Year of Class Vehicle            2015

Model of Hyundai Class           Sonata
Vehicle

VIN #                            5NPE34AF6FH243332

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        No
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    Full reimbursement for costs of dealership repair.
the settlement to me is:

This is important to me          $7100 engine replacement that Hyundai verbally denied warranty on is a major
because:                         expense they should have covered.

9. Additional information or     HMAENGINESETTLEMENT.COM website DOES NOT show Amount of claim
comments:                        Approved - only shows APPROVED.

                                 They should be showing amount online.

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-07-2020

E-sig Signature
        Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 95 of 168 Page ID
Email                         ALANDEVINE@COMCAST.NET
                                            #:4535

City                         COLORADO SPRINGS

State                        CO
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 96 of 168 Page ID
Hyundai/Kia Declaration                 #:4536
Submission Date                  2020-10-07 07:30:22

First Name                       Paul

Last Name                        Brody

Make of Class Vehicle            Hyundai

Year of Class Vehicle            2014

Model of Hyundai Class           Santa Fe Sport
Vehicle

VIN #                            5XYZTDLB9EG201559

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        Yes
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    Lifetime warranty
the settlement to me is:

This is important to me          Fixed income with large bills
because:

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-07-2020

E-sig Signature




Email                            pbrody62@gmail.com

City                             Webster

State                            MA
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 97 of 168 Page ID
Hyundai/Kia Declaration                 #:4537
Submission Date                  2020-10-07 07:25:25

First Name                       NeiAsia

Last Name                        Smith

Make of Class Vehicle            Hyundai

Year of Class Vehicle            2016

Model of Hyundai Class           Santa Fe Sport
Vehicle

VIN #                            5XYZT3LB0GG363142

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        Yes
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    The acknowledgment of the issue.
the settlement to me is:

This is important to me          I am a mother who drives her kids around in this vehicle and if there was no
because:                         acknowledgement of the issue something dangerous could have happened.

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-07-2020

E-sig Signature




Email                            asmith371@gmail.com

City                             Monroe

State                            NC
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 98 of 168 Page ID
Hyundai/Kia Declaration                 #:4538
Submission Date                  2020-10-07 07:07:38

First Name                       Teresa

Last Name                        Cirelli

Make of Class Vehicle            Hyundai

Year of Class Vehicle            2014

Model of Hyundai Class           Santa Fe Sport
Vehicle

VIN #                            5xyzu3lb2eg149926

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        Yes
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    Adequate compensation. I still owed money on the loan when my engine seized.
the settlement to me is:         I had the engine replaced (covered under warranty) and all the other repairs
                                 corrected (some out of pocket costs, I included in the settlement) only to trade in
                                 the car at a loss in order to buy a new one.

This is important to me          I knew a month after buying the car that something wasn’t quite right and
because:                         Hyundai completely ignored my inquiry. I took the car in for the recall and that
                                 made my suspicions seem more valid. When my engine seized at only 75k miles
                                 I knew it was something that was wrong from the very beginning.

9. Additional information or     My family’s original plan was to finish paying that car off and then purchase a
comments:                        new car. The engine seizing forced us to purchase a new car, take a loss on the
                                 2014 Hyundai, and keep a much older car in the meantime to avoid having two
                                 car payments.

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-07-2020
        Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 99 of 168 Page ID
E-sig Signature                             #:4539




Email                        cirelliteresa@gmail.com

City                         Staten Island

State                        NY
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 100 of 168 Page ID
Hyundai/Kia Declaration                 #:4540
Submission Date                  2020-10-06 09:36:22

First Name                       Wendy

Last Name                        Gates Hughes

Make of Class Vehicle            Kia

Year of Class Vehicle            2011

Model of Kia Class Vehicle       Optima

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        No
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    I hope it appropriately compensates me since I had $4,500 worth of repairs prior
the settlement to me is:         to the vehicle being totalled in an accident.

This is important to me          Owning a KIA was a terrible experience, so change my mind!
because:

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-06-2020

E-sig Signature




Email                            gatorzgal@yahoo.com

City                             Lisle

State                            NY
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 101 of 168 Page ID
Hyundai/Kia Declaration                 #:4541
Submission Date                  2020-10-06 13:51:20

First Name                       khalid

Last Name                        jaber

Make of Class Vehicle            Kia

Year of Class Vehicle            2013

Model of Kia Class Vehicle       Sorento

VIN #                            5xykt4a68dg358733

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        No
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    Being compensated for all the problems I encountered with my vehicle which
the settlement to me is:         were very expensive and caused lots of hardships on my family's well being,
                                 also I feel very sad that some of our community individuals are suffering from the
                                 same problems and not being fairly treated for it.

This is important to me          Till this dayi still have problems with the (ksds) and during the inspection we
because:                         found out it was the knock sensor and unable to fix it because it costs too much
                                 money.

9. Additional information or     After hearing about the settlement and understanding how the (ksds) can cause
comments:                        engine fires , it scares me to drive it every day ,I avoid freeways for this reason ,
                                 I would stop driving but thats how I get to work each day to make a living,

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-06-2020

E-sig Signature
        Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 102 of 168 Page ID
Email                          khalidjaber87@gmail.com
                                                #:4542

City                         North Olmsted

State                        OH
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 103 of 168 Page ID
Hyundai/Kia Declaration                 #:4543
Submission Date                  2020-10-06 14:53:07

First Name                       Jewell

Last Name                        Vaughn

Make of Class Vehicle            Kia

Year of Class Vehicle            2015

Model of Kia Class Vehicle       Sorento

VIN #                            5XYKT3A68FG567158

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        Yes
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    peace of mind
the settlement to me is:

This is important to me          my family safety
because:

9. Additional information or     thank you
comments:

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-06-2020

E-sig Signature




Email                            sissybuddy5051@gmail.com

City                             Lakeland
        Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 104 of 168 Page ID
State                          FL           #:4544
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 105 of 168 Page ID
Hyundai/Kia Declaration                 #:4545
Submission Date                  2020-10-06 17:09:34

First Name                       Ron

Last Name                        Flowers

Make of Class Vehicle            Kia

Year of Class Vehicle            2013

Model of Kia Class Vehicle       Optima

VIN #                            5XXGR4A6XDG212746

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        No
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    Getting reimbursed for repairs I had to make to the vehicle.
the settlement to me is:

This is important to me          It cost a lot to have these repairs completed.
because:

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-06-2020

E-sig Signature




Email                            rflowers@emich.edu

City                             Dexter

State                            MI
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 106 of 168 Page ID
Hyundai/Kia Declaration                 #:4546
Submission Date                  2020-10-06 17:52:40

First Name                       Jocelyn

Last Name                        Like

Make of Class Vehicle            Kia

Year of Class Vehicle            2019

Model of Kia Class Vehicle       Optima

VIN #                            5XXGT4L39KG281459

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        No
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    The extended lifetime warranty.
the settlement to me is:

This is important to me          This is my first Kia and my granddad use to say, " You get what you pay for." I'm
because:                         glad this is being taken care of.

9. Additional information or     I am satisfied with the settlement as long as it is favorable for me and my family
comments:                        and our safety. Thank you

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-06-2020

E-sig Signature




Email                            jrluvv16@gmail.com

City                             Memphis
        Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 107 of 168 Page ID
State                          TN           #:4547
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 108 of 168 Page ID
Hyundai/Kia Declaration                 #:4548
Submission Date                  2020-10-07 01:08:47

First Name                       TAWSHA

Last Name                        BERTSCHY

Make of Class Vehicle            Hyundai

Year of Class Vehicle            2014

Model of Hyundai Class           Sonata
Vehicle

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        Yes
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    Financial reimbursement and Hyundai making this right.
the settlement to me is:

This is important to me          We paid thousands of dollars to fix our car after being told it was fine.
because:

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-06-2020

E-sig Signature




Email                            tawshalynn76@gmail.com

City                             Sandy

State                            OR
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 109 of 168 Page ID
Hyundai/Kia Declaration                 #:4549
Submission Date                  2020-10-05 07:58:00

First Name                       Eric

Last Name                        Cepiel

Make of Class Vehicle            Kia

Year of Class Vehicle            2015

Model of Kia Class Vehicle       Optima

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        Yes
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    Lifetime engine coverage
the settlement to me is:

This is important to me          Kia vehicles are known for having many problems and that need to make reliable
because:                         vehicles.

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-05-2020

E-sig Signature




Email                            mcepiel@nycap.rr.com

City                             Waterford

State                            NY
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 110 of 168 Page ID
Hyundai/Kia Declaration                 #:4550
Submission Date                  2020-10-05 08:16:45

First Name                       Casie

Last Name                        Savage

Make of Class Vehicle            Kia

Year of Class Vehicle            2015

Model of Kia Class Vehicle       Sorento

VIN #                            5XYTCA67FG617497

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        Yes
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    The lifetime warranty and being reimbursed for what I had to pay out.
the settlement to me is:

This is important to me          It is important to me because I am a middle class individual and can't afford a
because:                         new car.

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-05-2020

E-sig Signature




Email                            casie.savage@gmail.com

City                             INDIANAPOLIS

State                            IN
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 111 of 168 Page ID
Hyundai/Kia Declaration                 #:4551
Submission Date                  2020-10-05 08:19:32

First Name                       Heather

Last Name                        Modica

Make of Class Vehicle            Kia

Year of Class Vehicle            2012

Model of Kia Class Vehicle       Sorento

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        No
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           No
appropriately compensate
me.

8. The most important part of    Monetary reimbursement and holding Kia accountable.
the settlement to me is:

This is important to me          I want financial reimbursement.
because:
                                 I leased a vehicle.

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-05-2020

E-sig Signature




Email                            heathermodica14@gmail.com

City                             Tonawanda

State                            NY
        Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 112 of 168 Page ID
State                          NY           #:4552
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 113 of 168 Page ID
Hyundai/Kia Declaration                 #:4553
Submission Date                  2020-10-05 08:40:58

First Name                       Carletha

Last Name                        Horton

Make of Class Vehicle            Kia

Year of Class Vehicle            2012

Model of Kia Class Vehicle       Optima

VIN #                            5XXGR4A60CG009380

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        Yes
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    Financial. I paid out of pocket to have my engine replaced
the settlement to me is:

This is important to me          The amount it cost and I'm still making payments on this vehicle.
because:

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-05-2020

E-sig Signature




Email                            carletha.horton1974@gmail.com

City                             Rochester

State                            NY
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 114 of 168 Page ID
Hyundai/Kia Declaration                 #:4554
Submission Date                  2020-10-05 09:00:12

First Name                       Toni

Last Name                        Crawford

Make of Class Vehicle            Kia

Year of Class Vehicle            2014

Model of Kia Class Vehicle       Optima

VIN #                            5XXGN4A76EG317953

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        Yes
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    Getting my money back I had to pay out for my car getting fixed.
the settlement to me is:

This is important to me          I work hard for my money and If I want to keep this car the warranty has to fair
because:                         as well as Kia keeping its word

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-05-2020

E-sig Signature




Email                            tcrawford5612@hotmail.com

City                             Macon

State                            GA
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 115 of 168 Page ID
Hyundai/Kia Declaration                 #:4555
Submission Date                  2020-10-04 18:13:40

First Name                       Juan

Last Name                        Fuentes

Make of Class Vehicle            Kia

Year of Class Vehicle            2015

Model of Kia Class Vehicle       Optima

VIN #                            5xxsgr4a62fg370145

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        Yes
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    Giving me the opportunity to recover any expenses I had to pay for the car
the settlement to me is:         problems

This is important to me          Why it's important, for the main reason that I purchase a new car so I won't be
because:                         having issues but that didn't happen.

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     09-28-2020

E-sig Signature




Email                            elxchele@gmail.com

City                             East Los Angeles

State                            CA
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 116 of 168 Page ID
Hyundai/Kia Declaration                 #:4556
Submission Date                  2020-10-04 18:21:16

First Name                       Johnathon

Last Name                        Poprawski

Make of Class Vehicle            Kia

Year of Class Vehicle            2014

Model of Kia Class Vehicle       Sorento

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        Yes
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           No
appropriately compensate
me.

8. The most important part of    Is getting reimbursed for the 500 worth of work which was a guess. Not long
the settlement to me is:         after that the cam sensor were replaced. Sorento when into limp mode and had
                                 to be towed on a out town trip. Where they replaced the knock sense wiring
                                 hardness free of charge. But I ended up stay an extra day weighting for the
                                 parts. There should be a monetary settlement for the time and hassle of the
                                 misdiagnoses. Then the time and hassle of getting towed out of town on a
                                 business trip. Causing me to have to stay longer then wanting to waiting for
                                 parts.

This is important to me          It's important because the service department never said anything about the
because:                         knock sense issue. My Sorento keep failing and stopped running on my
                                 Birthday. First time had it into service and they claimed my oil change was the
                                 issue. Second time Sorento start stalling again they do 500.00 worth of work did
                                 nothing to solve the issue.

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-04-2020

E-sig Signature
        Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 117 of 168 Page ID
Email                          jrpops72@comcast.net
                                                #:4557

City                         Clarksville

State                        TN
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 118 of 168 Page ID
Hyundai/Kia Declaration                 #:4558
Submission Date                  2020-10-04 18:21:32

First Name                       Chad

Last Name                        Pepple

Make of Class Vehicle            Kia

Year of Class Vehicle            2014

Model of Kia Class Vehicle       Sorento

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        Yes
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    The lifetime extended warranty. And the reimbursement for service done on my
the settlement to me is:         vehicle.

This is important to me          It was not covered under my present warranty.
because:

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-04-2020

E-sig Signature




Email                            chad.pepple@yahoo.com

City                             Mount Perry

State                            OH
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 119 of 168 Page ID
Hyundai/Kia Declaration                 #:4559
Submission Date                  2020-10-04 18:25:28

First Name                       Emily

Last Name                        Carr

Make of Class Vehicle            Kia

Year of Class Vehicle            2012

Model of Kia Class Vehicle       Optima

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        No
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    I am still making payments on this car because we bought it from a dealership
the settlement to me is:         before we knew there was a recall on it. I have not received any kind of
                                 settlement for any of the work that I’ve had to put into it. I really would like to get
                                 rid of this car but we still owe so much money on it and nobody is going to want
                                 to buy it. We have thought about letting it be repo’d but I don’t think that’s fair to
                                 have to ruin our credit over this car. I would just be happy if someone could get
                                 me out of the loan/contract I am in so I can get rid of this car completely.

This is important to me          I have 3 small children that I have to ride around in this car every single day. The
because:                         steering wheel makes a clicking sound like it’s going to lock up at any minute,
                                 the check engine light is on, and I’m scared to death that it’s going to catch on
                                 fire. We had to have the turbo booster replaced in it and when the mechanic did
                                 that, he found metal shavings in the oil and had to change the oil too. It’s just a
                                 disaster waiting to happen, a death trap really.

9. Additional information or     Please, please, please let me know what I can do about this!!
comments:

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-04-2020
        Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 120 of 168 Page ID
E-sig Signature                             #:4560




Email                        erp07@yahoo.com

City                         Midland

State                        PA
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 121 of 168 Page ID
Hyundai/Kia Declaration                 #:4561
Submission Date                  2020-10-04 18:25:41

First Name                       Sabrina

Last Name                        Simpson

Make of Class Vehicle            Kia

Year of Class Vehicle            2016

Model of Kia Class Vehicle       Optima

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        No
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    Reimbursement for the cost and inconvenience I experienced.
the settlement to me is:

This is important to me          Having a car break down on a busy street was terrifying and I would not want
because:                         anyone

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-04-2020

E-sig Signature




Email                            sabrinasimpson17@gmail.com

City                             Indianapolis

State                            IN
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 122 of 168 Page ID
Hyundai/Kia Declaration                 #:4562
Submission Date                  2020-10-04 18:27:16

First Name                       Tina

Last Name                        Cooper

Make of Class Vehicle            Kia

Year of Class Vehicle            2015

Model of Kia Class Vehicle       Sorento

VIN #                            5XYKT3A63FG619358

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        Yes
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    the dealership recognizing the loss suffered as a result of their negligence.
the settlement to me is:

This is important to me          I loss money and time that the company was NOT willing to reimburse plus the
because:                         dealership that I had to deal with was absolutely horrible to the point where I had
                                 to contact the attorney General.

9. Additional information or     Loss of wages and inconvenience cannot be truly compensation.
comments:

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-04-2020

E-sig Signature




Email                            mrscoop531@gmail.com
        Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 123 of 168 Page ID
City                           OXON HILL    #:4563

State                        MD
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 124 of 168 Page ID
Hyundai/Kia Declaration                 #:4564
Submission Date                  2020-10-04 18:32:22

First Name                       Clifford

Last Name                        MacBurney

Make of Class Vehicle            Kia

Year of Class Vehicle            2013

Model of Kia Class Vehicle       Optima

VIN #                            5XXGR4A66DG108500

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        Yes
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    Reimbursement of my costs. Lifetime extended warranty not as important.
the settlement to me is:

This is important to me          I had to borrow $6600 dollars against a life insurance policy to pay for repairs.
because:                         This cost should have been taken care of by Kia.

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-04-2020

E-sig Signature




Email                            fyrecop@yahoo.com

City                             Oakhurst

State                            CA
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 125 of 168 Page ID
Hyundai/Kia Declaration                 #:4565
Submission Date                  2020-10-04 18:42:10

First Name                       Paula

Last Name                        Wilson

Make of Class Vehicle            Kia

Year of Class Vehicle            2013

Model of Kia Class Vehicle       Optima

VIN #                            5XXGM4A70DGO99557

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        Yes
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    Being fair and reembursing me for my vehicle repairs
the settlement to me is:

This is important to me          Kia needs to do the right thing and compensate for repairs that had to be done
because:

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-04-2020

E-sig Signature




Email                            putnamqueen@gmail.com

City                             Putnam Station

State                            NY
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 126 of 168 Page ID
Hyundai/Kia Declaration                 #:4566
Submission Date                  2020-10-04 19:04:03

First Name                       Rocco

Last Name                        Giannetta

Make of Class Vehicle            Kia

Year of Class Vehicle            2013

Model of Kia Class Vehicle       Sorento

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        Yes
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           No
appropriately compensate
me.

8. The most important part of    money
the settlement to me is:

This is important to me          i had to fight with kia for months to do anything....calling corporate calling the
because:                         dealer where it was sitting.....while still making payments....i had a very
                                 expensive paperweight...with a family of 5 this was not an easy time for us

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-04-2020

E-sig Signature




Email                            roccojames84@gmail.com

City                             Lindenhurst

State                            NY
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 127 of 168 Page ID
Hyundai/Kia Declaration                 #:4567
Submission Date                  2020-10-04 10:19:09

First Name                       Paul

Last Name                        Goss

Make of Class Vehicle            Kia

Year of Class Vehicle            2018

Model of Kia Class Vehicle       Optima

VIN #                            5XXGT4L35JG262972

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        Yes
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    To be compensated for both vehicles. I would not have gone with the second
the settlement to me is:         Kia.

This is important to me          Because I feel my brand loyalty has been abused.
because:

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-04-2020

Email                            paulmg@att.net

City                             Pompano Beach

State                            FL
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 128 of 168 Page ID
Hyundai/Kia Declaration                 #:4568
Submission Date                  2020-10-04 11:31:25

First Name                       Abby

Last Name                        Myers

Make of Class Vehicle            Kia

Year of Class Vehicle            2012

Model of Kia Class Vehicle       Optima

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        Yes
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    Reimbursement for the money I spent to repair/tow my vehicle that was
the settlement to me is:         previously denied to me.

This is important to me          I should not be out money because of an issue that was out of my control.
because:

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-04-2020

E-sig Signature




Email                            eddlemanabby@gmail.com

City                             Searcy

State                            AR
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 129 of 168 Page ID
Hyundai/Kia Declaration                 #:4569
Submission Date                  2020-10-04 12:21:56

First Name                       Nitasha

Last Name                        Quintero

Make of Class Vehicle            Kia

Year of Class Vehicle            2013

Model of Kia Class Vehicle       Optima

VIN #                            5XXGM4A79DG109308

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        No
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    Just that they are willing to look out for the consumer.
the settlement to me is:

This is important to me          The consumer aspect and taking care of them.
because:

9. Additional information or     I traded the vehicle.
comments:

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-04-2020

E-sig Signature




Email                            tquintero008@gmail.com

City                             Denver
        Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 130 of 168 Page ID
State                          CO           #:4570
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 131 of 168 Page ID
Hyundai/Kia Declaration                 #:4571
Submission Date                  2020-10-04 13:35:11

First Name                       Caryn

Last Name                        Segale

Make of Class Vehicle            Kia

Year of Class Vehicle            2013

Model of Kia Class Vehicle       Optima

VIN #                            5XXGN4A71DG13125

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        No
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    Getting money back for an engine and transmission I shouldn’t have had to
the settlement to me is:         replace

This is important to me          I’m out of pocket for a lot of money for an expensive car that I shouldn’t have
because:                         been out of pocket for to begin With

9. Additional information or     I had to have the transmission rebuilt after putting a new engine in it. That
comments:                        wouldn’t have had to been rebuilt neither of the engine didn’t fail.

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-04-2020

E-sig Signature




Email                            carynsegale@yahoo.com

City                             Tehachapi
        Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 132 of 168 Page ID
State                          CA           #:4572
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 133 of 168 Page ID
Hyundai/Kia Declaration                 #:4573
Submission Date                  2020-10-04 15:26:04

First Name                       Chelsea

Last Name                        Wyrick

Make of Class Vehicle            Kia

Year of Class Vehicle            2013

Model of Kia Class Vehicle       Optima

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        No
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    Making this right with me as the consumer because it led to me having to
the settlement to me is:         purchase another vehicle

This is important to me          This malfunction could have hurt my family if it would have happened while I was
because:                         driving

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-04-2020

E-sig Signature




Email                            russell5984@gmail.com

City                             Luttrell

State                            TN
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 134 of 168 Page ID
Hyundai/Kia Declaration                 #:4574
Submission Date                  2020-10-04 15:29:52

First Name                       Timeko

Last Name                        Shackleford

Make of Class Vehicle            Kia

Year of Class Vehicle            2013

Model of Kia Class Vehicle       Optima

VIN #                            5XXGM4A71DG142089

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        Yes
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    Helping us
the settlement to me is:

This is important to me          Everyone car getting fixed
because:

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-04-2020

E-sig Signature




Email                            timeko39@gmail.com

City                             DOTHAN

State                            AL
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 135 of 168 Page ID
Hyundai/Kia Declaration                 #:4575
Submission Date                  2020-10-04 15:51:49

First Name                       Roberto

Last Name                        Lujan

Make of Class Vehicle            Kia

Year of Class Vehicle            2015

Model of Kia Class Vehicle       Optima

VIN #                            5XXGM4A74FG476622

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        No
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    I had to purchase a used Kia Sorento because my engine blew on my optima
the settlement to me is:         that was almost paid off. I would like appropriate compensation for my major
                                 inconvenience that put me over 25,000 dollars in debt.

This is important to me          My Optima was only 4 years old and I had no plans of
because:

9. Additional information or     The mechanic I towed my car too said the vehicle had "catastrophic engine
comments:                        failure " but had no idea why. When I towed the car to Kia I asked them to please
                                 investigate why this happened. They said they would but they never got back to
                                 me.

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-04-2020

E-sig Signature
        Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 136 of 168 Page ID
Email                          robsector85@gmail.com
                                                #:4576

City                         Santa Fe

State                        NM
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 137 of 168 Page ID
Hyundai/Kia Declaration                 #:4577
Submission Date                  2020-10-04 15:55:51

First Name                       Kristian

Last Name                        Turman

Make of Class Vehicle            Kia

Year of Class Vehicle            2012

Model of Kia Class Vehicle       Optima

VIN #                            5xxgm4a71cg044808

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        No
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    To finally know the reason behind my engine malfunction
the settlement to me is:

This is important to me          I had to trade my vehicle in due to the engine
because:

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-04-2020

E-sig Signature




Email                            kristy1107@gmail.com

City                             Locust grove

State                            GA
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 138 of 168 Page ID
Hyundai/Kia Declaration                 #:4578
Submission Date                  2020-10-04 16:09:24

First Name                       Robert

Last Name                        Mebane

Make of Class Vehicle            Kia

Year of Class Vehicle            2013

Model of Kia Class Vehicle       Optima

VIN #                            5XXGM4A74DG125934

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        Yes
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    To have closure and to be adequately compensated for my inconvenience.
the settlement to me is:

This is important to me          I'd like to have a peace of mind on this issue
because:

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-04-2020

E-sig Signature




Email                            mebane.robert@yahoo.co

City                             Stratford

State                            CT
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 139 of 168 Page ID
Hyundai/Kia Declaration                 #:4579
Submission Date                  2020-10-02 14:57:27

First Name                       Daniel

Last Name                        Billek

Make of Class Vehicle            Kia

Year of Class Vehicle            2013

Model of Kia Class Vehicle       Optima

VIN #                            5VVGR4A67DG091335

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        No
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           No
appropriately compensate
me.

8. The most important part of    Getting reimbursed for the expenses I incurred during the time my vehicle was
the settlement to me is:         inoperable.

This is important to me          I used my own funds to continue a Disney vacation with my son.
because:

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-02-2020

E-sig Signature




Email                            danbillek@gmail.com

City                             Bonita Springs

State                            FL
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 140 of 168 Page ID
Hyundai/Kia Declaration                 #:4580
Submission Date                  2020-10-02 16:53:04

First Name                       Pat

Last Name                        Ortelli

Make of Class Vehicle            Kia

Year of Class Vehicle            2014

Model of Kia Class Vehicle       Sorento

VIN #                            5XYKTDA62EG510166

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        Yes
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    Getting the money back for the towing and inconvenience of not having a car for
the settlement to me is:         2-3 days each time this happened.

This is important to me          Getting the money back for the towing and inconvenience of not having a car for
because:                         2-3 days each time this happened.

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-02-2020

E-sig Signature




Email                            slixter@rcn.com

City                             Northampton

State                            PA
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 141 of 168 Page ID
Hyundai/Kia Declaration                 #:4581
Submission Date                  2020-10-02 16:56:33

First Name                       Tony

Last Name                        Bennett

Make of Class Vehicle            Kia

Year of Class Vehicle            2013

Model of Kia Class Vehicle       Sorento

VIN #                            5XYKT3A64DG360621

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        No
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           No
appropriately compensate
me.

8. The most important part of    help offset the cost of my motor replacement. I've had 5 vehicles in my sales
the settlement to me is:         career and this is the first one not to make it to 275,000 miles.

This is important to me          I still use this car in sales and it would help me get some of the cost back .
because:

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-02-2020

E-sig Signature




Email                            tony.bennett@comsouth.net

City                             HawkinsvilleTo

State                            GA
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 142 of 168 Page ID
Hyundai/Kia Declaration                 #:4582
Submission Date                  2020-10-02 19:31:28

First Name                       Veruschka

Last Name                        Naranjo

Make of Class Vehicle            Kia

Year of Class Vehicle            2012

Model of Kia Class Vehicle       Sorento

VIN #                            Kndpb3a2xd7500125

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        No
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    To obtain trust aGain in the company
the settlement to me is:

This is important to me          It is a recovery if all the stress going through.
because:

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-02-2020

E-sig Signature




Email                            vnaranjo6463@gmail.com

City                             Riverside

State                            RI
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 143 of 168 Page ID
Hyundai/Kia Declaration                 #:4583
Submission Date                  2020-10-02 19:42:08

First Name                       Alfredo

Last Name                        Gonzalez

Make of Class Vehicle            Kia

Year of Class Vehicle            2013

Model of Kia Class Vehicle       Optima

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        No
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    to compensate for having to buy a new vehicle
the settlement to me is:

This is important to me          Vehicle left me stranded, had to get a towed home then towed to dealership and
because:                         purchase another vehicle

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-02-2020

E-sig Signature




Email                            algonzalez1073@gmail.com

City                             Battle Mountain

State                            NV
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 144 of 168 Page ID
Hyundai/Kia Declaration                 #:4584
Submission Date                  2020-10-02 20:17:15

First Name                       Tomeka

Last Name                        Phillips

Make of Class Vehicle            Kia

Year of Class Vehicle            2015

Model of Kia Class Vehicle       Optima

VIN #                            5xxgm4a75fg513208

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        No
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           No
appropriately compensate
me.

8. The most important part of    I need a new vehicle
the settlement to me is:

This is important to me          I don't have time for the drama with a car that I am paying car notes on.
because:

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-02-2020

E-sig Signature




Email                            complete68@yahoo.com

City                             Brenham

State                            TX
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 145 of 168 Page ID
Hyundai/Kia Declaration                 #:4585
Submission Date                  2020-10-02 21:36:16

First Name                       ALEC

Last Name                        HIRANG

Make of Class Vehicle            Kia

Year of Class Vehicle            2013

Model of Kia Class Vehicle       Optima

VIN #                            5xxgm4A72DG233002

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        No
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    It reimburses me for significant out-of-pocket money to replace my Kia Optima's
the settlement to me is:         engine.

This is important to me          It redresses economic harm done to me due to a systemic fault in Kia's
because:                         manufacturing. Also, the class action reveals this systemic fault in Kia's
                                 manufacturing. Without it, I would have continued thinking that my engine failed
                                 due to a freak event.

9. Additional information or     I was initially suspicious of the Class Action Notice and even wondered if it was
comments:                        a phishing attempt. I would suggest highlighting the name of the Court, the
                                 federal Case #, and the Judge in order to increase the Notice's appearance of
                                 legitimacy. I was confident of the Notice once I looked it up on Court's official
                                 portal.

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-02-2020
        Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 146 of 168 Page ID
E-sig Signature                             #:4586




Email                        ALEC10345@GMAIL.COM

City                         Monterey Park

State                        CA
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 147 of 168 Page ID
Hyundai/Kia Declaration                 #:4587
Submission Date                  2020-10-02 22:27:05

First Name                       Brian

Last Name                        Trollinger

Make of Class Vehicle            Kia

Year of Class Vehicle            2015

Model of Kia Class Vehicle       Optima

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        Yes
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    Getting my car fixed
the settlement to me is:

This is important to me          I spent my last dollar getting it fixed
because:

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-02-2020

E-sig Signature




Email                            blacdollas@gmail.com

City                             Graham

State                            NC
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 148 of 168 Page ID
Hyundai/Kia Declaration                 #:4588
Submission Date                  2020-10-11 00:47:43

First Name                       Miguel

Last Name                        Ayala

Make of Class Vehicle            Hyundai

Year of Class Vehicle            2013

Model of Hyundai Class           Sonata
Vehicle

VIN #                            5NPEC4AC8DH513406

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        No
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    getting the refund back.
the settlement to me is:

This is important to me          It was very expensive to fix the engine.
because:

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-10-2020

E-sig Signature




Email                            andreaayala352@gmail.com

City                             Guadalupe

State                            CA
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 149 of 168 Page ID
Hyundai/Kia Declaration                 #:4589
Submission Date                  2020-10-11 09:45:49

First Name                       Lori

Last Name                        Gaxiola

Make of Class Vehicle            Hyundai

Year of Class Vehicle            2011

Model of Hyundai Class           Sonata
Vehicle

VIN #                            5NPEB4AC6BH176508

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        Yes
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    Being reimbursed for the engine I replace
the settlement to me is:

This is important to me          It created a financial hardship
because:

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-08-2020

E-sig Signature




Email                            lorigaxiola@gmail.com

City                             La Habra

State                            CA
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 150 of 168 Page ID
Hyundai/Kia Declaration                 #:4590
Submission Date                  2020-10-11 10:05:51

First Name                       Donoven

Last Name                        White

Make of Class Vehicle            Hyundai

Year of Class Vehicle            2011

Model of Hyundai Class           Sonata
Vehicle

VIN #                            5NPEB4AC6BH218305

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        Yes
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    Reimbursement of a large amount of out of pocket money due to major engine
the settlement to me is:         failure.

This is important to me          I bought the car in good faith and would expect Hyundai to provide a quality
because:                         product and stand behind it.

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-11-2020

E-sig Signature




Email                            donoven26_2000@yahoo.com

City                             Stansbury

State                            UT
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 151 of 168 Page ID
Hyundai/Kia Declaration                 #:4591
Submission Date                  2020-10-11 11:03:27

First Name                       Precious

Last Name                        Pulley

Make of Class Vehicle            Hyundai

Year of Class Vehicle            2012

Model of Hyundai Class           Sonata
Vehicle

VIN #                            5npeb4ac2ch344629

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        Yes
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    To get money back for what I paid to repair my car
the settlement to me is:

This is important to me          Because it’s not my fault something was wrong with my car and I shouldn’t have
because:                         to pay out of my pocket for it

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-11-2020

E-sig Signature




Email                            preciouspulley17@gmail.com

City                             Youngsville

State                            NC
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 152 of 168 Page ID
Hyundai/Kia Declaration                 #:4592
Submission Date                  2020-10-11 11:09:44

First Name                       Cierra

Last Name                        Roberts

Make of Class Vehicle            Kia

Year of Class Vehicle            2014

Model of Kia Class Vehicle       Optima

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        Yes
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    My car doesn’t work
the settlement to me is:

This is important to me          I need a new car
because:

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-11-2020

E-sig Signature




Email                            iloveeemychildren@icloud.com

City                             El monte

State                            CA
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 153 of 168 Page ID
Hyundai/Kia Declaration                 #:4593
Submission Date                  2020-10-11 13:12:11

First Name                       JENNIFER

Last Name                        BEATTY

Make of Class Vehicle            Hyundai

Year of Class Vehicle            2016

Model of Hyundai Class           Santa Fe Sport
Vehicle

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        Yes
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    Security
the settlement to me is:

This is important to me          A secure vehicle
because:

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-11-2020

E-sig Signature




Email                            JCBEATTY517@AOL.COM

City                             WAYNE

State                            NJ
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 154 of 168 Page ID
Hyundai/Kia Declaration                 #:4594
Submission Date                  2020-10-11 18:06:55

First Name                       Steve

Last Name                        McCrea

Make of Class Vehicle            Hyundai

Year of Class Vehicle            2013

Model of Hyundai Class           Santa Fe Sport
Vehicle

VIN #                            5XYZUDLA2DG069795

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        Yes
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    Being compensated for my out of pocket expenses and acknowledgement of the
the settlement to me is:         engine problems.

This is important to me          The financial hardship this caused me at the time and the potentially dangerous
because:                         outcome that could have occurred when the engine failed.

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-11-2020

E-sig Signature




Email                            steve_mccrea@msn.com

City                             Peyton

State                            CO
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 155 of 168 Page ID
Hyundai/Kia Declaration                 #:4595
Submission Date                  2020-10-11 22:16:13

First Name                       Selva

Last Name                        Adorno

Make of Class Vehicle            Kia

Year of Class Vehicle            2014

Model of Kia Class Vehicle       Sorento

VIN #                            5XYKT3A60EG471698

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        No
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    Taking care of my car for me and my family.kia replaced the engine but 1 month
the settlement to me is:         later again went down and they were changing me a fortune

This is important to me          Recover expenses
because:

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-11-2020

E-sig Signature




Email                            selvamabela@gmail.com

City                             Lake worth

State                            FL
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 156 of 168 Page ID
Hyundai/Kia Declaration                 #:4596
Submission Date                  2020-10-11 22:29:22

First Name                       La Tanya

Last Name                        Beck

Make of Class Vehicle            Hyundai

Year of Class Vehicle            2012

Model of Hyundai Class           Sonata
Vehicle

VIN #                            5NPEB4AC5CH323094

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        No
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    The extended warranty and the reimbursement of $846.50 for car rental charges
the settlement to me is:         since August 2020 when the Sonata was in the shop getting another engine
                                 under a recall.

This is important to me          This bill is long overdue and now we’re paying interest on that money.
because:

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-11-2020

E-sig Signature




Email                            Summerscape2@msn.com

City                             Rockport
        Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 157 of 168 Page ID
State                          ME           #:4597
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 158 of 168 Page ID
Hyundai/Kia Declaration                 #:4598
Submission Date                  2020-10-07 13:48:29

First Name                       Keri

Last Name                        Wilson

Make of Class Vehicle            Hyundai

Year of Class Vehicle            2013

Model of Hyundai Class           Sonata
Vehicle

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        Yes
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    The monetary settlement.
the settlement to me is:

This is important to me          I had to have my whole engine replaced which was very expensive.
because:

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-07-2020

E-sig Signature




Email                            kkmurphy@uci.edu

City                             Ramona, CA

State                            CA
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 159 of 168 Page ID
Hyundai/Kia Declaration                 #:4599
Submission Date                  2020-10-07 13:55:27

First Name                       Jodi

Last Name                        Gentry

Make of Class Vehicle            Hyundai

Year of Class Vehicle            2016

Model of Hyundai Class           Santa Fe Sport
Vehicle

VIN #                            5xyzu3lb1gg317171

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        No
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    To be reimbursed for costs, have the extended warranty and to have a safe
the settlement to me is:         vehicle

This is important to me          For mine and my family’s safety
because:

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-07-2020

E-sig Signature




Email                            jodi.gentry@ymail.com

City                             Bakersfield

State                            CA
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 160 of 168 Page ID
Hyundai/Kia Declaration                 #:4600
Submission Date                  2020-10-07 14:07:48

First Name                       Sandra

Last Name                        Cannon

Make of Class Vehicle            Hyundai

Year of Class Vehicle            2011

Model of Hyundai Class           Sonata
Vehicle

VIN #                            5NPEB4AC8BH133885

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        Yes
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    For Hyundai to compensate owners for faulty parts.
the settlement to me is:

This is important to me          I feel Hyundai is a very good dealer, and this puts my faith back into them.
because:

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-07-2020

E-sig Signature




Email                            scannon@gouldlp.com

City                             Wantagh

State                            NY
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 161 of 168 Page ID
Hyundai/Kia Declaration                 #:4601
Submission Date                  2020-10-07 14:12:55

First Name                       Drew

Last Name                        Esquivel

Make of Class Vehicle            Hyundai

Year of Class Vehicle            2011

Model of Hyundai Class           Sonata
Vehicle

VIN #                            5NPEB4AC4BH089934

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        Yes
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    That I can use the monetary reward now more than ever. And that I am thankful
the settlement to me is:         they company is taking ownership for their faults a trying to reimburse
                                 consumers.

This is important to me          It is extremely important to me because all of my 401k was cashed out to initially
because:                         purchase this vehicle a total of $4,500.00 with the entire total being $9,000.00 so
                                 half of the total down.

9. Additional information or     Thank you I appreciate all of your hard work that you are doing for the Class
comments:                        action.

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-07-2020

E-sig Signature
        Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 162 of 168 Page ID
Email                          dae1987@outlook.com
                                                #:4602

City                         Stockton

State                        CA
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 163 of 168 Page ID
Hyundai/Kia Declaration                 #:4603
Submission Date                  2020-10-07 14:45:20

First Name                       Katherine

Last Name                        Weckhurst

Make of Class Vehicle            Hyundai

Year of Class Vehicle            2017

Model of Hyundai Class           Santa Fe Sport
Vehicle

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        Yes
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    That I get compensated for the expense that I incurred on the vehicle.
the settlement to me is:

This is important to me          This should be covered by the manufacturer.
because:

9. Additional information or     I have not received my reimbursement yet.
comments:

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-07-2020

E-sig Signature




Email                            kweckhurst@hillcrestcs.org

City                             NEWBURY PARK
        Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 164 of 168 Page ID
State                          CA           #:4604
    Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 165 of 168 Page ID
Hyundai/Kia Declaration                 #:4605
Submission Date                  2020-10-07 14:58:06

First Name                       TAREK

Last Name                        RACHID

Make of Class Vehicle            Hyundai

Year of Class Vehicle            2012

Model of Hyundai Class           Sonata
Vehicle

VIN #                            5NPEC4AC0DH596863

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        Yes
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           Yes
appropriately compensate
me.

8. The most important part of    PLEASE FIX THE PROBLEM OR GIVE ME MY MONEY BACK, IHAVE 3 KIDS
the settlement to me is:         AND MY OLDER MOTHER AND MY WIFE, I'M SO SCARE TO DRIVE MY CAR
                                 WITH MY FAMILY INSIDE, ENGINE MIGHT COUGHT IN FIRE, OR STOP
                                 WORKING IN THE MIDDILE OF THE FREEWAY.

This is important to me          I NEED MY MONEY BACK TO BUY A DIFFIRENT CAR I'M SO SCARED TO
because:                         DRIVE MY CAR WITH 3 KIDS INSIDE PLEASE HELP TO GET ANOTHER
                                 CAR.

9. Additional information or     PLEASE GIVE MY MONEY BACK.
comments:

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-07-2020

E-sig Signature
        Case 8:17-cv-00838-JLS-JDE Document 143-3 Filed 10/16/20 Page 166 of 168 Page ID
Email                          TAREK.1966@ATT.NET
                                             #:4606

City                         SAN DIEGO

State                        CA
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Hyundai/Kia Declaration                 #:4607
Submission Date                  2020-10-07 15:13:44

First Name                       Christina

Last Name                        Seberino

Make of Class Vehicle            Hyundai

Year of Class Vehicle            2012

Model of Hyundai Class           Sonata
Vehicle

VIN #                            5NPEC4AC7CH379230

4. I submitted a claim form to   Yes
obtain settlement benefits.

5. I had the knock sensor        No
detection system (KSDS)
update performed on my
vehicle.

6. I find the settlement to be   Satisfactory
generally:

7. The settlement will           No
appropriately compensate
me.

8. The most important part of    That I am reimbursed for my vehicle. I spent $8500 to purchase it and lost it due
the settlement to me is:         to a fire less than a year later.

This is important to me          I am significantly financially impacted due to the car fire. I was traveling at the
because:                         time and lost thousands of dollars worth of items and nearly my own life. Not to
                                 mention, hospital bills because my friend got a concussion.

9. Additional information or     I originally tried to settle with Hyundai and got no where. It has been almost two
comments:                        years since the fire.

10. Select which best applies    I support the settlement and would like to see it approved by the Court.
to you:

Today's Date                     10-07-2020

E-sig Signature




Email                            christinaseberino@gmail.com
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City                           Brooklyn     #:4608

State                        NY
